              EXHIBIT A
     D.F., et al. v. Sikorsky Aircraft Corporation, et al.
United States District Court, Case No. 13-cv-00331-GPC-KSC
               CHARLES WILLIAM COFFIN - 02/11/2016              ·




 · · · · · · · · ·UNITED STATES DISTRICT COURT

 · · · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA


 D.F., a minor, by and through :
 his Guardian Ad Litem,
 TASHINA AMADOR, individually· ·:
 and as successor in interest
 to Alexis Fontalvo, deceased, :
 and T.L., a minor, by and· · · · ·Case No.
 through her Guardian Ad· · · · :· 13-cv-00331-GPC-KSC
 Litem, TASHINA AMADOR,
 · · · · · · · · · · · · · · · ·:
 · · · · · · · ·Plaintiffs,
 · · · · · · · · · · · · · · · ·:· Deposition of:
 · · · ·-v-· · · · · · · · · · · · CHARLES WILLIAM COFFIN
 · · · · · · · · · · · · · · · ·:
 SIKORSKY AIRCRAFT
 CORPORATION; SIKORSKY SUPPORT :
 SERVICES, INC.; UNITED
 TECHNOLOGIES CORPORATION;· · · :
 G.E. AVIATION SYSTEMS, LLC;
 DUPONT AEROSPACE CO.; E.I.· · ·:
 DUPONT DE NEMOURS AND
 COMPANY; PKL SERVICES INC.;· · :
 and DOES 1 through 100,
 Inclusive,· · · · · · · · · · ·:

 · · · · · · · ·Defendants.· · ·:



 · · · · · · · · · Place:· · · · TEMPEST REPORTING, INC.
 · · · · · · · · · · · · · · · · 175 South Main Street, #710
 · · · · · · · · · · · · · · · · Salt Lake City, Utah 84111

 · · · · · · · · · Date:· · · · ·February 11, 2016
 · · · · · · · · · · · · · · · · 10:02 a.m.

 · · · · · · · · · Reporter:· · ·Vickie Larsen, CSR/RMR


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               CHARLES WILLIAM COFFIN - 02/11/2016        Page 61

 ·1· · · · ·A.· · ·I don't know what specifically it was
 ·2· ·being trained for.· Maybe the accessory gear box,
 ·3· ·because that's something I worked on and that's --
 ·4· ·that's another component in that system.· But I --
 ·5· ·beyond that, I don't have a specific answer.
 ·6· · · · ·Q.· · ·Okay.· But you recall being trained on it
 ·7· ·during your basic training for MAPMEP?
 ·8· · · · ·A.· · ·Right.· Again, that's what I recall, but
 ·9· ·there -- it could have been in -- part of any one of
 10· ·those syllabi.· I -- I don't have a -- a specific
 11· ·recollection of that.
 12· · · · ·Q.· · ·Okay.· Other than saying that the landing
 13· ·gear safety pins were one of five interlocks for the
 14· ·system, were they described in any more detail?· How
 15· ·they work?· What their purpose was?
 16· · · · ·A.· · ·Just -- no.· Just that their part --
 17· ·they're an interlock, removed or installed, you know.
 18· ·If it's removed, the interlock's no longer active.
 19· ·That particular interlock's not active.
 20· · · · ·Q.· · ·Okay.
 21· · · · ·A.· · ·How or why, I don't have an answer.     I
 22· ·wasn't trained on that.· Not that I recall.
 23· · · · ·Q.· · ·Were you kind of taught or trained on
 24· ·what to do if the landing gear pin were -- were stuck
 25· ·or feeling resistance?


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               CHARLES WILLIAM COFFIN - 02/11/2016         Page 62

 ·1· · · · ·A.· · ·No.
 ·2· · · · ·Q.· · ·Okay.· In the course of the work you were
 ·3· ·doing, would you have any reason to pull the landing
 ·4· ·gear pin?
 ·5· · · · ·A.· · ·No.
 ·6· · · · ·Q.· · ·Okay.· Did you ever remove or install a
 ·7· ·landing gear pin?
 ·8· · · · ·A.· · ·Yes.
 ·9· · · · ·Q.· · ·Okay.· And what context was that?· And
 10· ·removed or installed?
 11· · · · ·A.· · ·Both.· I'm sorry.
 12· · · · ·Q.· · ·That was my bad question.
 13· · · · ·A.· · ·I don't remember.· I know that there's a
 14· ·point where we were replacing pins because of
 15· ·deteriorating flags.
 16· · · · ·Q.· · ·Okay.
 17· · · · ·A.· · ·So that's as specific as I can get on
 18· ·that.· I don't remember why or where or how.     I
 19· ·remember replacing a couple pins that had flags in
 20· ·there because someone, you know, couldn't see the
 21· ·flags.· They were just greased up and dirty and old,
 22· ·so they're, like, Hey, we want new flags out there.
 23· · · · ·Q.· · ·Okay.· And so do you know when you
 24· ·removed and replaced them, was the helicopter on?
 25· · · · ·A.· · ·No.· No.


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               CHARLES WILLIAM COFFIN - 02/11/2016       Page 198

 ·1· ·STATE OF UTAH· · · · ·)
 · · · · · · · · · · · · · ·)
 ·2· ·COUNTY OF SALT LAKE· ·)

 ·3· · · · · · · · I, Vickie Larsen, Certified Shorthand

 ·4· ·Reporter No. 109887-7801 for the State of Utah, do

 ·5· ·hereby certify:

 ·6· · · · · · · · That prior to being examined, the witness

 ·7· ·named in the foregoing deposition was duly sworn to

 ·8· ·testify to the truth, the whole truth, and nothing but

 ·9· ·the truth;

 10· · · · · · · · That said deposition was taken down by me

 11· ·in shorthand at the time and place herein named and

 12· ·thereafter reduced by me to typewritten form and that

 13· ·the same is a true, correct, and complete transcript of

 14· ·said proceedings.

 15· · · · · · · · Before completion of the deposition,

 16· ·review of the transcript [X] was [ ] was not requested.

 17· ·If requested, and changes made by the deponent (and

 18· ·provided to the reporter) during the period allowed are

 19· ·appended hereto.

 20· · · · · · · · I further certify that I am not interested

 21· ·in the outcome of the action.

 22

 23· · · · · · · · · · · · ·Vickie Larsen, CSR/RMR

 24· ·Witness my hand this 26th day of February, 2016.

 25


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                JUSTIN ROBERT BROWN - 02/19/2016                ·

 ·1· · · · · · · · UNITED STATES DISTRICT COURT

 ·2· · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

 ·3

 ·4· · · · · · · · · ·AGENCY Case No. 13-cv-00331-GPC-KSC

 ·5· ·- - - - - - - - - - - - - - - - - - - x

 ·6· ·Dominic Fontalvo a minor, by and through

 ·7· ·his Guardian Ad Litem, Tashina Amador,

 ·8· ·individually and as successor in interest

 ·9· ·to Alexis Fontalvo, deceased, and T.L.

 10· ·a minor, by and through her Guardian

 11· ·Ad Litem, Tashina Amador,

 12
 · · · · · · · · · · · · · · Plaintiffs,
 13· ·vs

 14· ·Sikorsky Aircraft Corporation, Sikorsky

 15· ·Support Services, Inc., et al,

 16

 17· · · · · · · · · · · · · Defendants.

 18· ·- - - - - - - - - - - - - - - - - - - x

 19· · · · DEPOSITION OF JUSTIN ROBERT BROWN

 20· · · · · · · · ·Quantico, Virginia

 21· · · · · · · · ·February 19, 2016

 22· · · · · · · · · · ·1:15· p.m.

 23

 24· · · · · · · · · · ·* * * * *

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                 JUSTIN ROBERT BROWN - 02/19/2016         Page 99

 ·1· · · · Q· · And that is with the CH-53 E Helicopter,
 ·2· ·correct?
 ·3· · · · A· · Correct, yes.
 ·4· · · · Q· · During any of those flights had your
 ·5· ·flight crew, either you or your flight crew,
 ·6· ·encountered a stuck landing gear pin?
 ·7· · · · A· · Not that I am aware of, no.
 ·8· · · · Q· · At the time of the accident, do you have
 ·9· ·an understanding, if you did have a stuck pin,
 10· ·what is the procedure for dealing with that
 11· ·particular issue on the helicopter, on CH-53
 12· ·Helicopter?
 13· · · · A· · I would have been so junior that I
 14· ·wouldn't have known if there even was a procedure.
 15· · · · · · ·To my recollection that is not discussed
 16· ·anywhere in that NATOPS, the NFM 000, so I
 17· ·wouldn't have known that to be an issue.
 18· · · · Q· · So we have someone who is junior.· Were
 19· ·you taught, and if the procedure is not in any of
 20· ·the manuals, were you taught how to find out what
 21· ·to do with a problem like that?
 22· · · · A· · No, just word of mouth and just ask
 23· ·someone in maintenance.
 24· · · · Q· · Who in maintenance would you ask?
 25· · · · A· · Probably someone within Air Frames or


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                JUSTIN ROBERT BROWN - 02/19/2016         Page 100

 ·1· ·Flight Line that had resident knowledge, but yes.
 ·2· · · · Q· · Who in the maintenance shop would have
 ·3· ·knowledge of the landing gear system?
 ·4· · · · A· · I would say the most senior person that
 ·5· ·I could find that had been around the longest,
 ·6· ·meaning they had the most time in the service in
 ·7· ·the community within those two divisions, so the
 ·8· ·most senior enlisted member most probably in
 ·9· ·either Air Frames or Flight Line, I would have
 10· ·asked.
 11· · · · Q· · You mentioned someone who is in Air
 12· ·Frames.· Why would you contact someone who is in
 13· ·Air Frames?
 14· · · · A· · They are part of what is called like the
 15· ·Big 3, and the other one would be Avionics, so
 16· ·Avionics would not have much of an issue with it
 17· ·so either Flight Line or Air Frames.
 18· · · · Q· · What is the third of the Big 3?
 19· · · · A· · Avionics, Flight Line and Air Frames.
 20· · · · Q· · And Flight Line encompasses what tasks?
 21· · · · A· · That is where all the crew chiefs come
 22· ·from, designated crew chiefs, and then they are
 23· ·responsible for most of the daily turnaround
 24· ·inspections with help from the other shops such as
 25· ·Avionics and Air Frames.


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 ·1

 ·2· ·UNITED STATES OF AMERICA· )

 ·3· · · · · · · · · · · · · · · · ss:
 · · ·COMMONWEALTH OF VIRGINIA· )
 ·4

 ·5
 · ·   · · · · · · I, T. S. HUBBARD, JR., a Notary Public
 ·6
 · ·   ·within and for the District of Columbia do hereby
 ·7
 · ·   ·certify that the witness whose deposition is
 ·8
 · ·   ·hereinbefore set forth was duly sworn and that the
 ·9
 · ·   ·within transcript is a true record of the testimony
 10
 · ·   ·given by such witness.
 11

 12
 · ·   · · · · · ·I further certify that I am not related
 13
 · ·   ·to any of the parties to this action by blood or
 14
 · ·   ·marriage and that I am in no way interested in the
 15
 · ·   ·outcome of this matter.
 16

 17
 · · · · · · · ·IN WITNESS WHEREOF, I have hereunto set
 18
 · · ·my hand this 29TH day of February 2016.
 19

 20· ·____________________________

 21· ·Thomas S. Hubbard, Jr.
 · · ·Notary Public Commonwealth of Virginia
 22

 23

 24

 25


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                 EVAN REID SHELTON - 05/25/2016                 ·

 ·1· · · · · · · · ·UNITED STATES DISTRICT COURT

 ·2· · · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA

 ·3
 · ·   ·- - - - - - - - - - - - - - - - - -
 ·4·   · · · · · · · · · · · · · · · · · · ·)
 · ·   ·D.F., a minor, by and through his· ·)
 ·5·   ·Guardian Ad Litem, TASHINA AMADOR,· )
 · ·   ·individually and as successor in· · )
 ·6·   ·interest to Alexis Fontalvo,· · · · )
 · ·   ·deceased, and T.L., a minor, by and )
 ·7·   ·through her Guardian Ad Litem,· · · )
 · ·   ·TASHINA AMADOR,· · · · · · · · · · ·)
 ·8·   · · · · · · · · · · · · · · · · · · ·)· CASE NO.
 · ·   · · · · · · · Plaintiffs,· · · · · · )· 13-cv-00331
 ·9·   · · · · · · · · · · · · · · · · · · ·)· GPC-KSC
 · ·   · · · · · · · ·vs.· · · · · · · · · ·)
 10·   · · · · · · · · · · · · · · · · · · ·)
 · ·   ·SIKORSKY AIRCRAFT CORPORATION;· · · )
 11·   ·SIKORSKY SUPPORT SERVICES, INC.;· · )
 · ·   ·UNITED TECHNOLOGIES CORPORATION;· · )
 12·   ·G.E. AVIATION SYSTEMS, LLC; DUPONT· )
 · ·   ·AEROSPACE CO.; E.I. DUPONT DE· · · ·)
 13·   ·NEMOURS AND COMPANY; PKL SERVICES,· )
 · ·   ·INC.; and DOES 1 through 100,· · · ·)
 14·   ·Inclusive,· · · · · · · · · · · · · )
 · ·   · · · · · · · · · · · · · · · · · · ·)
 15·   · · · · · · · Defendants.· · · · · · )
 · ·   · · · · · · · · · · · · · · · · · · ·)
 16·   ·- - - - - - - - - - - - - - - - - -

 17

 18· · · · · · · DEPOSITION OF EVAN REID SHELTON

 19

 20· · · · · · ·TAKEN ON: Wednesday, May 25, 2016

 21· · · · · · ·TAKEN AT: 501 West Broadway
 · · · · · · · · · · · · ·Suite 400
 22· · · · · · · · · · · ·San Diego, California

 23· · · · · · ·REPORTED BY:· KATHRYN B. CONNELL
 · · · · · · · · · · · · · · ·CSR NO. 3079, RPR, CRR
 24

 25


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                 EVAN REID SHELTON - 05/25/2016           Page 41

 ·1· · · · Q.· ·Okay.· But do you recall specifically being
 ·2· ·trained on that?
 ·3· · · · A.· ·Yes.
 ·4· · · · Q.· ·And is that common knowledge?
 ·5· · · · A.· ·Yes.
 ·6· · · · Q.· ·Do you know if other shops were trained on
 ·7· ·that as well?
 ·8· · · · A.· ·I do not know.
 ·9· · · · Q.· ·If the removal of the landing gear safety pin
 10· ·takes more than one or two seconds, if it's stuck or
 11· ·encounters resistance, were you trained on what to do
 12· ·next?
 13· · · · A.· ·There is -- there is -- there is a difference
 14· ·between doing a daily inspection.· So if I'm doing a
 15· ·daily inspection and the aircraft is off, there is no
 16· ·power to it.· So if I found that the -- if I found that
 17· ·the pin was not -- if I found that the pin was stuck,
 18· ·then that means that even with hydraulic power off, it
 19· ·would -- you know, with all of the systems not getting
 20· ·power to them, then the aircraft is probably just trying
 21· ·to collapse on it, on the landing gear.
 22· · · · · · ·But during the start-up of the aircraft when
 23· ·we are trying to remove the pins, we have already had a
 24· ·daily inspection done, we have already had a pre-flight
 25· ·inspection done.· So if we couldn't get that pin out,


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                 EVAN REID SHELTON - 05/25/2016            Page 42

 ·1· ·there wasn't really, you know -- I wouldn't know what to
 ·2· ·do at that point.· Is the pin bent?· I'm not sure what
 ·3· ·the problem is at that point, because the inspections
 ·4· ·have already been done saying that the landing gear is
 ·5· ·good.
 ·6· · · · Q.· ·So at the time of the start-up of the
 ·7· ·aircraft, the daily inspection would have already been
 ·8· ·performed, the pre-flight would have already been
 ·9· ·performed.· Would a turnaround inspection already have
 10· ·been performed?
 11· · · · A.· ·It all depends because a daily inspection was
 12· ·done every 72 hours, I believe, and that depends -- that
 13· ·depends on if -- that also has -- depends on the flight
 14· ·schedule.· I can't remember what it was exactly.· But if
 15· ·it's flown at a certain time, then the daily inspection
 16· ·needs to be done within 72 hours of that time; and the
 17· ·same with the turnaround, I believe that the turnaround
 18· ·has to be completed within 24 hours of if an aircraft
 19· ·just landed or if its taken off.
 20· · · · · · ·So there is a lot of different variables about
 21· ·when a turnaround and daily inspection needs to be done,
 22· ·but they would have been done regardless within that
 23· ·last 24 hours for a turnaround or the last 72 hours for
 24· ·a daily inspection.· But the pre-flight inspection
 25· ·100 percent would have been done right before that


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 ·1· ·kind of procedures are done; and once we got a basic of
 ·2· ·what would be done, then we would start to do our -- our
 ·3· ·on-the-job training.
 ·4· · · · · · ·And we would start flying, and we would start
 ·5· ·doing more and more different -- different things
 ·6· ·besides just flying and making sure that the aircraft is
 ·7· ·safe.· We would start to do external lifts; we would
 ·8· ·start to, you know -- we would start to be in charge of
 ·9· ·calling -- telling the pilots when it's safe to land.
 10· ·And we would start to get more and more responsibilities
 11· ·until they -- they deemed us capable of being --
 12· ·becoming a crew chief.· So --
 13· · · · Q.· ·Okay.· Did you have continuous classroom
 14· ·training during that time?
 15· · · · A.· ·Yes.
 16· · · · Q.· ·And did you study or train on manuals
 17· ·regarding those procedures?
 18· · · · A.· ·Yes.
 19· · · · Q.· ·Okay.· But you received training and
 20· ·information outside of the scope of those manuals as
 21· ·well?
 22· · · · A.· ·Well, outside of the scope of the manuals?
 23· · · · Q.· ·Bad question.
 24· · · · · · ·Was everything you learned in the manuals or
 25· ·did you learn details regarding the performance of the


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 ·1· ·standard procedures that weren't reflected in the
 ·2· ·manuals?
 ·3· · · · · · ·For instance, everything you know about
 ·4· ·landing gear safety pins, is that all documented in
 ·5· ·manuals or did you learn some of that through
 ·6· ·performance of on-the-job activities, knowledge from
 ·7· ·your peers?
 ·8· · · · A.· ·For the landing gear -- yeah, I don't think --
 ·9· ·I can't recall any speculative training where people
 10· ·would say, "Hey, this isn't in the manual, but this is
 11· ·actually how it's done."· I think that all of the
 12· ·training that we got from people was based off of what
 13· ·was in the manuals.
 14· · · · Q.· ·I'll try to phrase my question better, because
 15· ·I don't think I'm getting it.
 16· · · · · · ·If someone were to study just the manuals,
 17· ·could they do your job?
 18· · · · A.· ·No, because they haven't experienced -- they
 19· ·haven't -- they haven't -- yeah, they haven't
 20· ·experienced -- the manuals say, "Do this"; but until
 21· ·you've seen what it means by the manual saying "Do
 22· ·this," then you haven't really experienced it and it
 23· ·wouldn't be safe.
 24· · · · Q.· ·So there is fundamental components of your
 25· ·training outside --


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 ·1· · · · A.· ·Yes.
 ·2· · · · Q.· ·-- of pure textbook?
 ·3· · · · A.· ·Yes.
 ·4· · · · Q.· ·Have you ever worked in the Airframe shop?
 ·5· · · · A.· ·No.
 ·6· · · · Q.· ·Have we discussed all of the positions and
 ·7· ·qualifications you've had with CH-53E helicopters?
 ·8· · · · A.· ·There is -- that I have?
 ·9· · · · Q.· ·Uh-huh.
 10· · · · A.· ·Yes.
 11· · · · Q.· ·Okay.· So we have crew chief, Flight Line
 12· ·mechanic, plane captain, and CDI?
 13· · · · A.· ·Yes.
 14· · · · Q.· ·And earlier you referred to crew chief school.
 15· ·Is that synonymous with the aircrew candidate school?
 16· · · · A.· ·Yes.
 17· · · · Q.· ·Okay.· Have we discussed all of the
 18· ·specialized training you received with respect to the
 19· ·CH-53E helicopter?
 20· · · · A.· ·Say that one more time.· Sorry.
 21· · · · Q.· ·Have you received any additional specialized
 22· ·training with respect to the CH-53E helicopter that we
 23· ·haven't discussed?
 24· · · · A.· ·No.
 25· · · · Q.· ·Okay.


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                 EVAN REID SHELTON - 05/25/2016            Page 90

 ·1· · · · A.· ·So if I knew that there was something wrong,
 ·2· ·then yes, I would know that I shouldn't pull it.
 ·3· · · · Q.· ·Okay.· Can you read the next sentence.
 ·4· · · · A.· ·"Doing so may allow the landing gear to
 ·5· ·inadvertently retract on the ground, causing injury or
 ·6· ·death."
 ·7· · · · Q.· ·Did you know, prior to the accident, that
 ·8· ·forcibly removing a landing gear safety pin might cause
 ·9· ·inadvertent retraction?
 10· · · · A.· ·I did not.· I did not know that it could cause
 11· ·a retraction.
 12· · · · · · ·Well, yeah, removing it wouldn't cause it, but
 13· ·it would allow it to.· I did know that removing it would
 14· ·allow it to retract, but -- this is kind of confusing.
 15· ·Can you repeat the question one more time?
 16· · · · · · ·MS. VAGLE:· Sure.
 17· · · · · · ·Could you read it back, please.
 18· · · · · · ·(Record read as follows:
 19· · · · Q.· ·Did you know, prior to the accident, that
 20· ·forcibly removing a landing gear safety pin might cause
 21· ·inadvertent retraction?)
 22· · · · · · ·THE WITNESS:· I did know that if you moved the
 23· ·pin, now that -- now the landing gear can retract.
 24· ·Inadvertent.· I'm going to say yes.
 25· ·///


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 ·1· ·much experience, then you can -- you can take a test.
 ·2· ·And basically, if you pass this huge test, then you can
 ·3· ·become a CDI.
 ·4· · · · Q.· ·Okay.
 ·5· · · · A.· ·So that's just a qualification, not a school.
 ·6· · · · Q.· ·Okay.· So crew chief school was after mechanic
 ·7· ·school?
 ·8· · · · A.· ·Yes.
 ·9· · · · Q.· ·And was there another intervening school in
 10· ·between those?
 11· · · · A.· ·No.
 12· · · · Q.· ·Okay.· And did you -- do you remember ever
 13· ·telling the panel that you talked to that -- that the
 14· ·knowledge that you are not supposed to pull a stuck pin
 15· ·was passed to you by word of mouth during crew chief
 16· ·school?
 17· · · · A.· ·I can't recall.
 18· · · · Q.· ·Okay.· Do you remember telling them that to
 19· ·your knowledge, no non-crew chiefs were aware that you
 20· ·weren't supposed to pull a stuck pin?
 21· · · · A.· ·It's also hard to say too -- yeah, I can't
 22· ·recall that either.· But there is a difference, too,
 23· ·with the aircraft off versus the aircraft on.
 24· · · · Q.· ·Okay.· What's that?
 25· · · · A.· ·So basically, with the aircraft off, if the


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 ·1· ·hydraulics -- you know, with the aircraft off, if the
 ·2· ·hydraulic level is down and the down-and-locked pin is
 ·3· ·not in, there is nothing -- there is absolutely nothing
 ·4· ·that can keep that landing gear up -- or, sorry -- that
 ·5· ·can keep it down.· There is nothing that can keep it
 ·6· ·down.
 ·7· · · · Q.· ·Yeah.
 ·8· · · · A.· ·But if the aircraft is on --
 ·9· · · · Q.· ·Yeah.
 10· · · · A.· ·-- if the landing gear handle is down, saying
 11· ·go down in the down position, now you've got at least
 12· ·hydraulic pressure trying to push it down --
 13· · · · Q.· ·Right.
 14· · · · A.· ·-- even if the down-and-locked pin is not in.
 15· · · · Q.· ·Uh-huh.
 16· · · · A.· ·So it's different.
 17· · · · Q.· ·So am I understanding you right, then, because
 18· ·I think this is very new to me, let's -- let's just
 19· ·posit that you were to lift the whole aircraft up on
 20· ·jacks while it was powered down.
 21· · · · A.· ·Yes.
 22· · · · Q.· ·Okay.· And the landing gear is down at that
 23· ·time.· If you lifted it up on jacks and removed the
 24· ·safety pins from all of the landing gear and you put it
 25· ·back down, would it collapse just by gravity?


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                 EVAN REID SHELTON - 05/25/2016           Page 176

 ·1· ·STATE OF CALIFORNIA· )

 ·2· · · · · · · · · · · · :· SS.

 ·3· ·COUNTY OF SAN DIEGO· )

 ·4

 ·5· · · · · I, Kathryn B. Connell, Certified Shorthand

 ·6· ·Reporter No. 3079 for State of California, do hereby

 ·7· ·certify:

 ·8· · · · · That prior to being examined, the witness named

 ·9· ·in the foregoing deposition was duly sworn to testify to

 10· ·the truth, the whole truth, and nothing but the truth;

 11· · · · · That said deposition was taken down by me in

 12· ·shorthand at the time and place therein named and

 13· ·thereafter reduced by me to typewritten form and that

 14· ·the same is a true, correct, and complete transcript of

 15· ·said proceedings.

 16· · · · · Before completion of the deposition, a review of

 17· ·the transcript [ X ] was [· ] was not requested.· If

 18· ·requested, any changes made by the deponent (and

 19· ·provided to the reporter) during the period allowed are

 20· ·appended hereto.

 21· · · · · I further certify that I am not interested in the

 22· ·outcome of the action.

 23· · · · · Witness my hand this 6th day of June, 2016.

 24
 · · · · · · · · · · · · _________________________________
 25· · · · · · · · · · · · Kathryn B. Connell, CSR No. 3079


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1-800-826-0277                                 www.deposition.com
1                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF CALIFORNIA
2
3    D.F., a minor, by and through  )
     his Guardian Ad Litem, TASHINA )
4    AMADOR, individually and as    )
     successor in interest to       )
5    Alexis Fontalvo, deceased, and )
     T.L., a minor, by and through  )
6    her Guardian Ad Litem, TASHINA )             No. 3:13-cv-00331-
     AMADOR,                        )                     GPC-KSC
7                                   )
                 Plaintiffs,        )
8                                   )
           vs.                      )
9                                   )
     SIKORSKY AIRCRAFT CORPORATION; )
10   SIKORSKY SUPPORT SERVICES,     )
     INC.; UNITED TECHNOLOGIES      )
11   CORPORATION; G.E. AVIATION     )
     SYSTEMS, LLC; DUPONT AEROSPACE )
12   CO.; E.I. DUPONT DE NEMOURS    )
     AND COMPANY; IKL SERVICES INC.;)
13   and DOES 1 through 100,        )
     inclusive,                     )
14                                  )
                 Defendants.        )
15   _______________________________)
16
17
18          VIDEOTAPED DEPOSITION OF MICAH HAMILTON
19                   San Diego, California
20                Thursday, January 26, 2016
21                         Volume I
22
23   Reported By:
     CATHERINE A-M GAUTEREAUX
24   CSR No. 3122
     Job No. 2528199
25   PAGES 1 - 96

                                                            Page 1

                       Veritext Legal Solutions
                            866 299-5127
1         Q    Okay.   And with regard to maintenance, how              08:51:43

2    many times have you done it?

3         A    Upward of a hundred times, at least.

4         Q    Okay.   Have you ever encountered a stuck

5    landing gear safety pin?                                           08:51:53

6         A    No, sir.

7         Q    As you sit here today, do you know what to

8    do if you encounter a stuck landing gear safety pin?

9         A    As I sit here today, no, sir.             Obviously,

10   after what happened, I would change what I would --                08:52:05

11   if I felt one now, I would never touch it.             But we

12   were never instructed.     It was not common knowledge,

13   if you felt, you know, something that was stuck, not

14   to pull it out.

15        Q    Okay.   So when you were working as an                   08:52:17

16   airframe mechanic, you don't believe you were ever

17   instructed as to what to do if you encountered a

18   stuck landing gear safety pin?

19        A    No, sir.

20        Q    Okay.   If there is an issue with the                    08:52:33

21   landing gear, who's the person that would have -- or

22   who would you go to in order to discuss the landing

23   gear, that particular landing gear issue?

24        A    I would be in the airframe shop.

25        Q    Okay.   And within the airframe shop, who                08:52:58

                                                                      Page 42

                              Veritext Legal Solutions
                                   866 299-5127
1                 I, the undersigned, a Certified Shorthand
2    Reporter of the State of California, do hereby
3    certify:
4                 That the foregoing proceedings were
5    reported by me at the time and place herein set
6    forth; that any witnesses in the foregoing
7    proceedings, prior to testifying, were placed under
8    oath; that a verbatim record of the proceedings was
9    made by me using machine shorthand which was
10   thereafter transcribed under my direction; further,
11   that the foregoing is an accurate transcription
12   thereof.
13                That a review of the transcript by the
14   deponent was requested.
15                I further certify I am neither financially
16   interested in the action nor a relative or employee
17   of any attorney of any of the parties.
18                IN WITNESS WHEREOF, I have this date
19   subscribed my name.
20   Dated:     February 8, 2017.
21
22
23
24               <%signature%>
                 CATHERINE A-M GAUTEREAUX
25               CSR NO. 3122

                                                     Page 96

                          Veritext Legal Solutions
                               866 299-5127
                JOSHUA DAVID PERKINS - 02/19/2016               ·

 ·1· · · · · · · · UNITED STATES DISTRICT COURT

 ·2· · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

 ·3

 ·4· · · · · · · · · ·AGENCY Case No. 13-cv-00331-GPC-KSC

 ·5· ·- - - - - - - - - - - - - - - - - - - x

 ·6· ·Dominic Fontalvo a minor, by and through

 ·7· ·his Guardian Ad Litem, Tashina Amador,

 ·8· ·individually and as successor in interest

 ·9· ·to Alexis Fontalvo, deceased, and T.L.

 10· ·a minor, by and through her Guardian

 11· ·Ad Litem, Tashina Amador,

 12
 · · · · · · · · · · · · · · Plaintiffs,
 13· ·vs

 14· ·Sikorsky Aircraft Corporation, Sikorsky

 15· ·Support Services, Inc., et al,

 16

 17· · · · · · · · · · · · · Defendants.

 18· ·- - - - - - - - - - - - - - - - - - - x

 19· · · · DEPOSITION OF JOSHUA DAVID PERKINS

 20· · · · · · · · ·Quantico, Virginia

 21· · · · · · · · ·February 19, 2016

 22· · · · · · · · · · ·9:00 a.m.

 23

 24· · · · · · · · · · ·* * * * *

 25


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                JOSHUA DAVID PERKINS - 02/19/2016         Page 47

 ·1· · · · A· · Yes, sir.
 ·2· · · · Q· · Take a look at what is marked as
 ·3· ·Deposition Exhibit No. 4.· In the fourth
 ·4· ·paragraph, do you see where it says, "The standard
 ·5· ·procedure is pulling the landing gear pin first
 ·6· ·and then the aux tanks second."
 ·7· · · · A· · Yes, sir.
 ·8· · · · Q· · We just talked about that and you
 ·9· ·testified that you do pull the landing gear first
 10· ·and then the aux tanks and you explained why.
 11· · · · · · ·But you used the term "standard
 12· ·procedure."· So is there a manual that states that
 13· ·you are supposed do it in that order?
 14· · · · A· · I can't recall honestly at this time,
 15· ·sir.· It was just something that was instilled in
 16· ·us from school from training out in our first
 17· ·unit.· I couldn't recall at this time if I
 18· ·actually read that in one of our maintenance
 19· ·procedures flight procedures.
 20· · · · Q· · What school would you have covered this
 21· ·in?
 22· · · · A· · I would have covered that in HMT 302,
 23· ·the training squadron for crew chiefs.
 24· · · · Q· · During this school for crew chiefs, you
 25· ·were never taught what to do if you encountered a


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                JOSHUA DAVID PERKINS - 02/19/2016         Page 48

 ·1· ·stuck landing gear safety pin?
 ·2· · · · A· · The difference of me and most crew
 ·3· ·chiefs is, I basically only go through the
 ·4· ·academic only portion.· I never actually flew in
 ·5· ·the flight portion of the 302's Flight Training
 ·6· ·School.
 ·7· · · · Q· · Is it your belief that that information
 ·8· ·would be covered in the flight portion of that
 ·9· ·school?
 10· · · · A· · It possibly could have been, and like I
 11· ·said, I wasn't part of it so I could not tell you,
 12· ·I don't know what actually happens on the flight
 13· ·portion at 302.
 14· · · · · · ·I got all of my flight training at HMH
 15· ·361 from one of our weapons and tactics
 16· ·instructors, so I learned probably a little bit
 17· ·differently than the guys actually at the school
 18· ·house.
 19· · · · Q· · Now go down to the second to last
 20· ·sentence where it says, "I did not see Sergeant
 21· ·Fontalvo."
 22· · · · · · ·Do you see that?
 23· · · · A· · Yes, sir.
 24· · · · Q· · It says, "I did not see Sergeant
 25· ·Fontalvo approach or pull the auxiliary tank pin."


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                JOSHUA DAVID PERKINS - 02/19/2016        Page 109

 ·1

 ·2· ·UNITED STATES OF AMERICA· )

 ·3· · · · · · · · · · · · · · · · ss:
 · · ·COMMONWEALTH OF VIRGINIA· )
 ·4

 ·5
 · ·   · · · · · · I, T. S. HUBBARD, JR., a Notary Public
 ·6
 · ·   ·within and for the District of Columbia do hereby
 ·7
 · ·   ·certify that the witness whose deposition is
 ·8
 · ·   ·hereinbefore set forth was duly sworn and that the
 ·9
 · ·   ·within transcript is a true record of the testimony
 10
 · ·   ·given by such witness.
 11

 12
 · ·   · · · · · ·I further certify that I am not related
 13
 · ·   ·to any of the parties to this action by blood or
 14
 · ·   ·marriage and that I am in no way interested in the
 15
 · ·   ·outcome of this matter.
 16

 17
 · · · · · · · ·IN WITNESS WHEREOF, I have hereunto set
 18
 · · ·my hand this 29TH day of February 2016.
 19

 20· ·____________________________

 21· ·Thomas S. Hubbard, Jr.
 · · ·Notary Public Commonwealth of Virginia
 22

 23

 24

 25


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              EXHIBIT B
     D.F., et al. v. Sikorsky Aircraft Corporation, et al.
United States District Court, Case No. 13-cv-00331-GPC-KSC
               CHARLES WILLIAM COFFIN - 02/11/2016              ·




 · · · · · · · · ·UNITED STATES DISTRICT COURT

 · · · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA


 D.F., a minor, by and through :
 his Guardian Ad Litem,
 TASHINA AMADOR, individually· ·:
 and as successor in interest
 to Alexis Fontalvo, deceased, :
 and T.L., a minor, by and· · · · ·Case No.
 through her Guardian Ad· · · · :· 13-cv-00331-GPC-KSC
 Litem, TASHINA AMADOR,
 · · · · · · · · · · · · · · · ·:
 · · · · · · · ·Plaintiffs,
 · · · · · · · · · · · · · · · ·:· Deposition of:
 · · · ·-v-· · · · · · · · · · · · CHARLES WILLIAM COFFIN
 · · · · · · · · · · · · · · · ·:
 SIKORSKY AIRCRAFT
 CORPORATION; SIKORSKY SUPPORT :
 SERVICES, INC.; UNITED
 TECHNOLOGIES CORPORATION;· · · :
 G.E. AVIATION SYSTEMS, LLC;
 DUPONT AEROSPACE CO.; E.I.· · ·:
 DUPONT DE NEMOURS AND
 COMPANY; PKL SERVICES INC.;· · :
 and DOES 1 through 100,
 Inclusive,· · · · · · · · · · ·:

 · · · · · · · ·Defendants.· · ·:



 · · · · · · · · · Place:· · · · TEMPEST REPORTING, INC.
 · · · · · · · · · · · · · · · · 175 South Main Street, #710
 · · · · · · · · · · · · · · · · Salt Lake City, Utah 84111

 · · · · · · · · · Date:· · · · ·February 11, 2016
 · · · · · · · · · · · · · · · · 10:02 a.m.

 · · · · · · · · · Reporter:· · ·Vickie Larsen, CSR/RMR


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1-800-826-0277                                 www.deposition.com
               CHARLES WILLIAM COFFIN - 02/11/2016        Page 25

 ·1· ·work, this is the level of review required?
 ·2· · · · ·A.· · ·Correct.
 ·3· · · · ·Q.· · ·Okay.· Could you explain a little bit of
 ·4· ·the on-the-job training that you received regarding --
 ·5· ·or in preparation for receiving your collateral duty
 ·6· ·inspector certification?
 ·7· · · · ·A.· · ·Just what we've already reviewed.
 ·8· · · · ·Q.· · ·Okay.· So nothing additional?
 ·9· · · · ·A.· · ·No.
 10· · · · ·Q.· · ·And I think we're starting to get this,
 11· ·but could you describe for me the command structure of
 12· ·the flight line shop.
 13· · · · ·A.· · ·Just like any other military environment.
 14· ·There's rank and billet.· So higher ranks, obviously,
 15· ·are in command of lower ranks, and billets, as far as
 16· ·collateral duty inspectors, are in charge of the
 17· ·maintenance evolutions, similarly to rank.
 18· · · · ·Q.· · ·Okay.· So other than your experience with
 19· ·CH53 helicopters as a flight line mechanic, did you
 20· ·have any other CH53-E experience as a -- maybe as a
 21· ·crew chief?
 22· · · · ·A.· · ·No.
 23· · · · ·Q.· · ·What about an aerial observer?
 24· · · · ·A.· · ·No.
 25· · · · ·Q.· · ·How about as a pilot?


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               CHARLES WILLIAM COFFIN - 02/11/2016       Page 198

 ·1· ·STATE OF UTAH· · · · ·)
 · · · · · · · · · · · · · ·)
 ·2· ·COUNTY OF SALT LAKE· ·)

 ·3· · · · · · · · I, Vickie Larsen, Certified Shorthand

 ·4· ·Reporter No. 109887-7801 for the State of Utah, do

 ·5· ·hereby certify:

 ·6· · · · · · · · That prior to being examined, the witness

 ·7· ·named in the foregoing deposition was duly sworn to

 ·8· ·testify to the truth, the whole truth, and nothing but

 ·9· ·the truth;

 10· · · · · · · · That said deposition was taken down by me

 11· ·in shorthand at the time and place herein named and

 12· ·thereafter reduced by me to typewritten form and that

 13· ·the same is a true, correct, and complete transcript of

 14· ·said proceedings.

 15· · · · · · · · Before completion of the deposition,

 16· ·review of the transcript [X] was [ ] was not requested.

 17· ·If requested, and changes made by the deponent (and

 18· ·provided to the reporter) during the period allowed are

 19· ·appended hereto.

 20· · · · · · · · I further certify that I am not interested

 21· ·in the outcome of the action.

 22

 23· · · · · · · · · · · · ·Vickie Larsen, CSR/RMR

 24· ·Witness my hand this 26th day of February, 2016.

 25


         DTI Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com
              EXHIBIT C
     D.F., et al. v. Sikorsky Aircraft Corporation, et al.
United States District Court, Case No. 13-cv-00331-GPC-KSC
                 EVAN REID SHELTON - 05/25/2016                 ·

 ·1· · · · · · · · ·UNITED STATES DISTRICT COURT

 ·2· · · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA

 ·3
 · ·   ·- - - - - - - - - - - - - - - - - -
 ·4·   · · · · · · · · · · · · · · · · · · ·)
 · ·   ·D.F., a minor, by and through his· ·)
 ·5·   ·Guardian Ad Litem, TASHINA AMADOR,· )
 · ·   ·individually and as successor in· · )
 ·6·   ·interest to Alexis Fontalvo,· · · · )
 · ·   ·deceased, and T.L., a minor, by and )
 ·7·   ·through her Guardian Ad Litem,· · · )
 · ·   ·TASHINA AMADOR,· · · · · · · · · · ·)
 ·8·   · · · · · · · · · · · · · · · · · · ·)· CASE NO.
 · ·   · · · · · · · Plaintiffs,· · · · · · )· 13-cv-00331
 ·9·   · · · · · · · · · · · · · · · · · · ·)· GPC-KSC
 · ·   · · · · · · · ·vs.· · · · · · · · · ·)
 10·   · · · · · · · · · · · · · · · · · · ·)
 · ·   ·SIKORSKY AIRCRAFT CORPORATION;· · · )
 11·   ·SIKORSKY SUPPORT SERVICES, INC.;· · )
 · ·   ·UNITED TECHNOLOGIES CORPORATION;· · )
 12·   ·G.E. AVIATION SYSTEMS, LLC; DUPONT· )
 · ·   ·AEROSPACE CO.; E.I. DUPONT DE· · · ·)
 13·   ·NEMOURS AND COMPANY; PKL SERVICES,· )
 · ·   ·INC.; and DOES 1 through 100,· · · ·)
 14·   ·Inclusive,· · · · · · · · · · · · · )
 · ·   · · · · · · · · · · · · · · · · · · ·)
 15·   · · · · · · · Defendants.· · · · · · )
 · ·   · · · · · · · · · · · · · · · · · · ·)
 16·   ·- - - - - - - - - - - - - - - - - -

 17

 18· · · · · · · DEPOSITION OF EVAN REID SHELTON

 19

 20· · · · · · ·TAKEN ON: Wednesday, May 25, 2016

 21· · · · · · ·TAKEN AT: 501 West Broadway
 · · · · · · · · · · · · ·Suite 400
 22· · · · · · · · · · · ·San Diego, California

 23· · · · · · ·REPORTED BY:· KATHRYN B. CONNELL
 · · · · · · · · · · · · · · ·CSR NO. 3079, RPR, CRR
 24

 25


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1-800-826-0277                                 www.deposition.com
                 EVAN REID SHELTON - 05/25/2016            Page 45

 ·1· ·if somebody knows why something is happening.
 ·2· · · · Q.· ·So during the start-up -- I think I'm getting
 ·3· ·ahead of myself here -- but you'd be performing certain
 ·4· ·procedures as a crew chief?
 ·5· · · · A.· ·Yes.
 ·6· · · · Q.· ·Okay.· Have you ever worked as a pilot on a
 ·7· ·CH-53E?
 ·8· · · · A.· ·No.
 ·9· · · · Q.· ·How about as an aerial observer?
 10· · · · A.· ·No.
 11· · · · Q.· ·You hesitate.· Why do you hesitate?
 12· · · · A.· ·Because, you know, I'm a crew chief.· A crew
 13· ·chief is a designation, and on every flight -- on a
 14· ·regular flight, we will have three crew members in the
 15· ·back of the aircraft and two pilots; and you'll have a
 16· ·crew chief who is in charge, and then regardless -- you
 17· ·could have three crew chiefs in the back of the cabin.
 18· ·One of them is going to be the lead crew chief, and I
 19· ·don't know if technically the other two are aerial
 20· ·observers at that moment, but we are still crew chiefs.
 21· ·We still have that knowledge, but we are not the lead
 22· ·crew chief on that mission.
 23· · · · Q.· ·Okay.· Now, is a crew chief, is that a -- what
 24· ·you call your MOS?
 25· · · · A.· ·Yes.


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                 EVAN REID SHELTON - 05/25/2016           Page 176

 ·1· ·STATE OF CALIFORNIA· )

 ·2· · · · · · · · · · · · :· SS.

 ·3· ·COUNTY OF SAN DIEGO· )

 ·4

 ·5· · · · · I, Kathryn B. Connell, Certified Shorthand

 ·6· ·Reporter No. 3079 for State of California, do hereby

 ·7· ·certify:

 ·8· · · · · That prior to being examined, the witness named

 ·9· ·in the foregoing deposition was duly sworn to testify to

 10· ·the truth, the whole truth, and nothing but the truth;

 11· · · · · That said deposition was taken down by me in

 12· ·shorthand at the time and place therein named and

 13· ·thereafter reduced by me to typewritten form and that

 14· ·the same is a true, correct, and complete transcript of

 15· ·said proceedings.

 16· · · · · Before completion of the deposition, a review of

 17· ·the transcript [ X ] was [· ] was not requested.· If

 18· ·requested, any changes made by the deponent (and

 19· ·provided to the reporter) during the period allowed are

 20· ·appended hereto.

 21· · · · · I further certify that I am not interested in the

 22· ·outcome of the action.

 23· · · · · Witness my hand this 6th day of June, 2016.

 24
 · · · · · · · · · · · · _________________________________
 25· · · · · · · · · · · · Kathryn B. Connell, CSR No. 3079


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1-800-826-0277                                 www.deposition.com
              EXHIBIT D
     D.F., et al. v. Sikorsky Aircraft Corporation, et al.
United States District Court, Case No. 13-cv-00331-GPC-KSC
                JUSTIN ROBERT BROWN - 02/19/2016                ·

 ·1· · · · · · · · UNITED STATES DISTRICT COURT

 ·2· · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

 ·3

 ·4· · · · · · · · · ·AGENCY Case No. 13-cv-00331-GPC-KSC

 ·5· ·- - - - - - - - - - - - - - - - - - - x

 ·6· ·Dominic Fontalvo a minor, by and through

 ·7· ·his Guardian Ad Litem, Tashina Amador,

 ·8· ·individually and as successor in interest

 ·9· ·to Alexis Fontalvo, deceased, and T.L.

 10· ·a minor, by and through her Guardian

 11· ·Ad Litem, Tashina Amador,

 12
 · · · · · · · · · · · · · · Plaintiffs,
 13· ·vs

 14· ·Sikorsky Aircraft Corporation, Sikorsky

 15· ·Support Services, Inc., et al,

 16

 17· · · · · · · · · · · · · Defendants.

 18· ·- - - - - - - - - - - - - - - - - - - x

 19· · · · DEPOSITION OF JUSTIN ROBERT BROWN

 20· · · · · · · · ·Quantico, Virginia

 21· · · · · · · · ·February 19, 2016

 22· · · · · · · · · · ·1:15· p.m.

 23

 24· · · · · · · · · · ·* * * * *

 25


         DTI Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.comYVer1f
                JUSTIN ROBERT BROWN - 02/19/2016          Page 42

 ·1· ·after they meet ex-number of requirements and
 ·2· ·qualifications they are designated an aerial
 ·3· ·observer and get Air Crewman Wings.
 ·4· · · · Q· · Is it correct to say an aerial observer
 ·5· ·is there to assist the flight crew?
 ·6· · · · A· · Correct.
 ·7· · · · Q· · Are you familiar with the training that
 ·8· ·an aerial observer goes through?
 ·9· · · · A· · No, not really.
 10· · · · Q· · Do you know if an aerial observer is
 11· ·qualified to do any preflight activities?
 12· · · · A· · I'm not exactly sure what their actual
 13· ·role is with the preflight other than assisting
 14· ·the crew chiefs.
 15· · · · · · ·Crew chiefs are ultimately going to be
 16· ·responsible for their portions just like the
 17· ·aircraft commander would ultimately be
 18· ·responsible.
 19· · · · Q· · The two crew chiefs that were part of
 20· ·the helicopter flight that day, what were their
 21· ·roles?
 22· · · · A· · They would just help clear the aircraft
 23· ·if we were doing our section work first, so
 24· ·formation flight with two aircraft at this time.
 25· · · · · · ·And then keeping us clear of


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                JUSTIN ROBERT BROWN - 02/19/2016         Page 154

 ·1

 ·2· ·UNITED STATES OF AMERICA· )

 ·3· · · · · · · · · · · · · · · · ss:
 · · ·COMMONWEALTH OF VIRGINIA· )
 ·4

 ·5
 · ·   · · · · · · I, T. S. HUBBARD, JR., a Notary Public
 ·6
 · ·   ·within and for the District of Columbia do hereby
 ·7
 · ·   ·certify that the witness whose deposition is
 ·8
 · ·   ·hereinbefore set forth was duly sworn and that the
 ·9
 · ·   ·within transcript is a true record of the testimony
 10
 · ·   ·given by such witness.
 11

 12
 · ·   · · · · · ·I further certify that I am not related
 13
 · ·   ·to any of the parties to this action by blood or
 14
 · ·   ·marriage and that I am in no way interested in the
 15
 · ·   ·outcome of this matter.
 16

 17
 · · · · · · · ·IN WITNESS WHEREOF, I have hereunto set
 18
 · · ·my hand this 29TH day of February 2016.
 19

 20· ·____________________________

 21· ·Thomas S. Hubbard, Jr.
 · · ·Notary Public Commonwealth of Virginia
 22

 23

 24

 25


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              EXHIBIT E
     D.F., et al. v. Sikorsky Aircraft Corporation, et al.
United States District Court, Case No. 13-cv-00331-GPC-KSC
                JOSHUA DAVID PERKINS - 02/19/2016               ·

 ·1· · · · · · · · UNITED STATES DISTRICT COURT

 ·2· · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

 ·3

 ·4· · · · · · · · · ·AGENCY Case No. 13-cv-00331-GPC-KSC

 ·5· ·- - - - - - - - - - - - - - - - - - - x

 ·6· ·Dominic Fontalvo a minor, by and through

 ·7· ·his Guardian Ad Litem, Tashina Amador,

 ·8· ·individually and as successor in interest

 ·9· ·to Alexis Fontalvo, deceased, and T.L.

 10· ·a minor, by and through her Guardian

 11· ·Ad Litem, Tashina Amador,

 12
 · · · · · · · · · · · · · · Plaintiffs,
 13· ·vs

 14· ·Sikorsky Aircraft Corporation, Sikorsky

 15· ·Support Services, Inc., et al,

 16

 17· · · · · · · · · · · · · Defendants.

 18· ·- - - - - - - - - - - - - - - - - - - x

 19· · · · DEPOSITION OF JOSHUA DAVID PERKINS

 20· · · · · · · · ·Quantico, Virginia

 21· · · · · · · · ·February 19, 2016

 22· · · · · · · · · · ·9:00 a.m.

 23

 24· · · · · · · · · · ·* * * * *

 25


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                JOSHUA DAVID PERKINS - 02/19/2016         Page 59

 ·1· · · · A· · Yes, sir.
 ·2· · · · Q· · Was he a crew member of Helicopter 69?
 ·3· · · · A· · Yes, sir.
 ·4· · · · Q· · At any time after the accident, meaning
 ·5· ·a few days, a few years, have you ever talked to
 ·6· ·Corporal Shelton about the accident?
 ·7· · · · A· · I might have.· I honestly cannot
 ·8· ·remember.· He shortly got out of the Marine Corps
 ·9· ·after that and since he has been out of the Marine
 10· ·Corps I haven't spoken with him.
 11· · · · · · ·It probably could have happened maybe
 12· ·the next week or so and maybe we chatted about it
 13· ·a little bit, but I honestly cannot remember.
 14· · · · Q· · You explained a little while ago the
 15· ·difference between a crew chief and an aerial
 16· ·observer.· Have you ever gone through the training
 17· ·to be an aerial observer?
 18· · · · A· · It pretty much falls hand in hand with
 19· ·the same codes that a crew chief were to get
 20· ·during his flight training to make that person
 21· ·qualified, so in that aspect, yes, I have been
 22· ·through everything that an aerial observer has
 23· ·been through.
 24· · · · Q· · Do you know specifically what training
 25· ·an aerial observer receives?


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                JOSHUA DAVID PERKINS - 02/19/2016         Page 60

 ·1· · · · A· · As in what type of training are we
 ·2· ·talking, sir?
 ·3· · · · Q· · What type of training does a person have
 ·4· ·to obtain in order to become an aerial observer?
 ·5· · · · A· · There's a list of flight codes that need
 ·6· ·to get completed amongst a NATOPS test open and
 ·7· ·closed book, an NATOPS flight examination and a
 ·8· ·Currie Source Management examination as well and
 ·9· ·you can get your gold wings at that point, your
 10· ·aerial observer wings, you're considered an aerial
 11· ·observer.
 12· · · · Q· · Would that include preflight procedures?
 13· · · · A· · Yes, sir.
 14· · · · Q· · To your knowledge would that training
 15· ·also include removing both landing gear pins?
 16· · · · A· · They almost would go hand in hand.
 17· · · · Q· · Do you know specifically what type of
 18· ·training an aerial observer receives related to
 19· ·removing landing gear safety pins?
 20· · · · A· · No, sir.
 21· · · · Q· · Do you know if the training is just in a
 22· ·classroom?
 23· · · · A· · It would be more out on the aircraft
 24· ·with a qualified individual.· Whether it is
 25· ·another plane captain teaching you how to


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                JOSHUA DAVID PERKINS - 02/19/2016        Page 109

 ·1

 ·2· ·UNITED STATES OF AMERICA· )

 ·3· · · · · · · · · · · · · · · · ss:
 · · ·COMMONWEALTH OF VIRGINIA· )
 ·4

 ·5
 · ·   · · · · · · I, T. S. HUBBARD, JR., a Notary Public
 ·6
 · ·   ·within and for the District of Columbia do hereby
 ·7
 · ·   ·certify that the witness whose deposition is
 ·8
 · ·   ·hereinbefore set forth was duly sworn and that the
 ·9
 · ·   ·within transcript is a true record of the testimony
 10
 · ·   ·given by such witness.
 11

 12
 · ·   · · · · · ·I further certify that I am not related
 13
 · ·   ·to any of the parties to this action by blood or
 14
 · ·   ·marriage and that I am in no way interested in the
 15
 · ·   ·outcome of this matter.
 16

 17
 · · · · · · · ·IN WITNESS WHEREOF, I have hereunto set
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 · · ·my hand this 29TH day of February 2016.
 19

 20· ·____________________________

 21· ·Thomas S. Hubbard, Jr.
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 22

 23

 24

 25


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              EXHIBIT F
     D.F., et al. v. Sikorsky Aircraft Corporation, et al.
United States District Court, Case No. 13-cv-00331-GPC-KSC
                  JEREMIAH WILCOX - 03/17/2016                  ·

 ·1· · · · · · · UNITED STATES DISTRICT COURT

 ·2· · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA

 ·3

 ·4

 ·5·   ·Dominic Fontalvo, a minor,· ·)
 · ·   ·by and through his Guardian· )
 ·6·   ·Ad Litem, Tashina Amador,· · ) Civil Action No.
 · ·   ·individually and as· · · · · )
 ·7·   ·successor in interest to· · ·) 13-cv-00331-GPC-KSC
 · ·   ·Alexis Fontalvo, deceased,· ·)
 ·8·   ·and T.L., a minor, by and· · )
 · ·   ·through her Guardian Ad· · · )
 ·9·   ·Litem, Tashina Amador,· · · ·)
 · ·   · · · · · · · · · · · · · · · )
 10·   · · · · · · · Plaintiffs,· · ·) Pages 1-59
 · ·   · · · · · · · · · · · · · · · )
 11·   · · · VS.· · · · · · · · · · ·)
 · ·   · · · · · · · · · · · · · · · )
 12·   ·Sikorsky Aircraft· · · · · · )
 · ·   ·Corporation, Sikorsky· · · · )
 13·   ·Support Services, Inc.,· · · )
 · ·   ·et al.,· · · · · · · · · · · )
 14·   · · · · · · · · · · · · · · · )
 · ·   · · · · · · · Defendants.· · ·)
 15·   ·____________________________ )

 16

 17· ·VIDEOTAPED DEPOSITION OF:

 18· · · · · ·JEREMIAH WILCOX

 19· · · · · ·THURSDAY, MARCH 17, 2016

 20· · · · · ·2:49 P.M.

 21

 22

 23

 24· ·Reported by:· LINDA NICKERSON

 25· · · · · · · · ·CSR No. 8746


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                  JEREMIAH WILCOX - 03/17/2016            Page 21

 ·1· · · ·Q· · Have you ever experienced a stuck -- or a                  03:05:29
 ·2· ·pin that was stuck or landing gear safety pin that                  03:05:33
 ·3· ·was stuck or offered resistance?                                    03:05:36
 ·4· · · ·A· · I have.                                                    03:05:37
 ·5· · · ·Q· · Can you tell us the circumstances?                         03:05:38
 ·6· · · ·A· · The circumstances on that was aircraft that                03:05:40
 ·7· ·were parked on the deck of a ship while deployed in                 03:05:44
 ·8· ·the Pacific Ocean.· Due to the salt water spray, the                03:05:47
 ·9· ·landing gear pins and any exposed metal that's not                  03:05:51
 10· ·painted can corrode and one of the aircraft or the                  03:05:55
 11· ·landing gear pins was starting to get some                          03:05:58
 12· ·resistance because it had corrosion built up, and                   03:06:00
 13· ·that's the only other time I've seen it, sir.                       03:06:05
 14· · · ·Q· · Okay.· That was the first -- the only time                 03:06:08
 15· ·you've seen that?                                                   03:06:09
 16· · · ·A· · Yes, sir.                                                  03:06:10
 17· · · ·Q· · How many times have you -- have you pulled                 03:06:10
 18· ·landing gear safe -- safety pins on CH-53                           03:06:12
 19· ·helicopters in your career?                                         03:06:16
 20· · · ·A· · Over a thousand times, sir, at least.                      03:06:18
 21· · · ·Q· · Okay.· When -- when did that happen, the                   03:06:24
 22· ·incident you just mentioned, the stuck or the                       03:06:26
 23· ·binding pin?                                                        03:06:28
 24· · · ·A· · I believe it was 2009, sir.                                03:06:29
 25· · · ·Q· · Did you discuss that with Sergeant Fontalvo                03:06:31


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                  JEREMIAH WILCOX - 03/17/2016            Page 22

 ·1· ·when you instructed him in Okinawa?                                 03:06:34
 ·2· · · ·A· · I did not, sir.                                            03:06:36
 ·3· · · ·Q· · But did you discuss the subject of the                     03:06:37
 ·4· ·binding or stuck pin with him when you discussed --                 03:06:42
 ·5· ·when you instructed him in Okinawa?                                 03:06:43
 ·6· · · ·A· · Yes, sir.                                                  03:06:46
 ·7· · · ·Q· · Okay.· Then you've also brought with you                   03:06:47
 ·8· ·something that's -- a document that's been marked as                03:06:51
 ·9· ·Wilcox Exhibit 4, and it's dated 1 May 2015, and it                 03:06:54
 10· ·says at the top "Organizational Maintenance                         03:07:00
 11· ·Principles of Operation, Landing Gear Control                       03:07:03
 12· ·System."                                                            03:07:04
 13· · · ·A· · Yes, sir.                                                  03:07:04
 14· · · · · · (The document referred to was marked by the
 15· ·Reporter as Wilcox Exhibit 4 for identification and
 16· ·is attached hereto.)
 17· ·BY MR. HUNT:                                                        03:07:05
 18· · · ·Q· · Why -- what do you think is significant to                 03:07:05
 19· ·this case in this document?                                         03:07:08
 20· · · ·A· · In this case, this would give the                          03:07:09
 21· ·principles of operation of landing gear systems and                 03:07:14
 22· ·how they work.· It is more detailed than the NATOPS                 03:07:17
 23· ·or other documents.· These principles of operation                  03:07:21
 24· ·manuals the -100 at the end of the manual designator                03:07:24
 25· ·is what tells us the principles of operation.                       03:07:29


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                  JEREMIAH WILCOX - 03/17/2016            Page 31

 ·1· · · ·Q· · Then if you go to -- and I gather that from                03:17:13
 ·2· ·the way these forms are filled out, that Sergeant                   03:17:15
 ·3· ·Fontalvo's performance was adequate, that he -- or                  03:17:17
 ·4· ·that he passed, he was found to be qualified?                       03:17:21
 ·5· · · ·A· · Yes, sir.                                                  03:17:25
 ·6· · · ·Q· · Okay.· What are the -- just there are                      03:17:28
 ·7· ·letters at the top of each column here, Q, U -- I                   03:17:29
 ·8· ·can't read the others.                                              03:17:34
 ·9· · · ·A· · They stand for -- Q for qualified, U for                   03:17:36
 10· ·unqualified, and DND, did not do, and NA, not                       03:17:40
 11· ·applicable.                                                         03:17:45
 12· · · ·Q· · Thank you.· If you turn next to Exhibit --                 03:17:46
 13· ·I'm sorry -- Enclosure 11, so 11 through -- which                   03:17:50
 14· ·is -- which is Bates stamped MIL073062, let's see,                  03:18:02
 15· ·we have -- it looks like we have three pages of                     03:18:14
 16· ·flight log records here.                                            03:18:17
 17· · · · · · Is that what these are?                                    03:18:18
 18· · · ·A· · Yes, sir, these are from his log book.                     03:18:19
 19· · · ·Q· · And just looking at the -- so this is                      03:18:31
 20· ·Sergeant -- this is from Sergeant Fontalvo's log                    03:18:33
 21· ·book?                                                               03:18:36
 22· · · ·A· · Yes, sir.                                                  03:18:36
 23· · · ·Q· · So looking at the first one, which is dated                03:18:37
 24· ·August of 2010, it's got three entries.· Those are                  03:18:48
 25· ·the days of August 2010, I gather?                                  03:18:52


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                  JEREMIAH WILCOX - 03/17/2016            Page 32

 ·1· · · ·A· · Yes, sir.                                                  03:18:54
 ·2· · · ·Q· · Okay.· You can see that -- what the                        03:18:54
 ·3· ·aircraft serial number is, we see three different --                03:18:59
 ·4· ·or three CH-53Es or flights on three CH-53Es,                       03:19:03
 ·5· ·rather, correct?                                                    03:19:10
 ·6· · · ·A· · Yes, sir.                                                  03:19:10
 ·7· · · ·Q· · And the kind of flight says IAI and                        03:19:10
 ·8· ·something else.                                                     03:19:14
 ·9· · · · · · Can you tell us what that means?                           03:19:14
 10· · · ·A· · The kind of flight is a -- designated as                   03:19:16
 11· ·the type of flight conducted --                                     03:19:17
 12· · · ·Q· · Okay.                                                      03:19:20
 13· · · ·A· · -- whether it's training or FCF or in                      03:19:20
 14· ·country.                                                            03:19:26
 15· · · ·Q· · And then the hours, we have 6.5 hours, 4.2,                03:19:26
 16· ·and 5.0?                                                            03:19:32
 17· · · ·A· · Yes, sir.                                                  03:19:33
 18· · · ·Q· · And then in the -- you've also -- there was                03:19:34
 19· ·also some -- some of that was nighttime apparently,                 03:19:35
 20· ·right?                                                              03:19:37
 21· · · ·A· · Yes, sir.                                                  03:19:37
 22· · · ·Q· · And then in the far column on the right, we                03:19:38
 23· ·have entries -- some sort of entries.                               03:19:44
 24· · · · · · Can you please tell us what those three                    03:19:45
 25· ·entries are and what they mean?                                     03:19:48


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                  JEREMIAH WILCOX - 03/17/2016            Page 33

 ·1· · · ·A· · Those entries for the 12th of August list                  03:19:49
 ·2· ·Dejarnatt as the instructor -- the crew chief                       03:19:55
 ·3· ·instructor onboard.· The 13th, the shop S3 that                     03:19:57
 ·4· ·makes these entries looks like mistakenly put the                   03:20:04
 ·5· ·pilot's name as the instructor, and then on the 19th                03:20:08
 ·6· ·of August is my name of the instructor.· The three                  03:20:13
 ·7· ·digit codes are the training codes listed of what                   03:20:17
 ·8· ·they flew on those days.                                            03:20:20
 ·9· · · ·Q· · Does that refer to Sergeant Fontalvo?                      03:20:24
 10· · · ·A· · Yes, sir.                                                  03:20:27
 11· · · ·Q· · In other words, that's the training he got                 03:20:27
 12· ·on those days?                                                      03:20:29
 13· · · ·A· · Yes, sir.                                                  03:20:30
 14· · · ·Q· · This was part of his training to be an                     03:20:31
 15· ·aerial observer?                                                    03:20:33
 16· · · ·A· · Yes, sir.                                                  03:20:34
 17· · · ·Q· · Would -- would that training have included                 03:20:34
 18· ·the subject of preflight and pretaxi operations?                    03:20:39
 19· · · ·A· · Yes, sir.                                                  03:20:44
 20· · · ·Q· · And would that include the handling of a --                03:20:45
 21· ·of landing gear safety pins?                                        03:20:50
 22· · · ·A· · Yes, sir.                                                  03:20:51
 23· · · ·Q· · And also auxiliary tank safety pins?                       03:20:52
 24· · · ·A· · Yes.                                                       03:20:55
 25· · · ·Q· · Is there a procedure or practice that's                    03:20:55


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                  JEREMIAH WILCOX - 03/17/2016            Page 35

 ·1· · · ·A· · Yes, sir.                                                  03:22:19
 ·2· · · ·Q· · Can you tell me what they mean from memory?                03:22:20
 ·3· · · ·A· · From memory, no, sir.· This -- these codes                 03:22:22
 ·4· ·are from a previous edition of the training                         03:22:25
 ·5· ·readiness manual.· Since then, we have gone to                      03:22:29
 ·6· ·four-digit training codes.                                          03:22:32
 ·7· · · ·Q· · Okay.· Would it have been the standard                     03:22:37
 ·8· ·practice when training someone to be an aerial                      03:22:39
 ·9· ·observer on a CH-53E to have him or her pull the                    03:22:44
 10· ·landing gear safety pins and the auxiliary tank                     03:22:53
 11· ·safety pins?                                                        03:22:55
 12· · · ·A· · Yes, sir.                                                  03:22:56
 13· · · ·Q· · Why is that?                                               03:22:56
 14· · · ·A· · We train to a two-man crew.· The crew chief                03:22:59
 15· ·will be on the right gun and the aerial observer                    03:23:01
 16· ·will be on the left gun.                                            03:23:02
 17· · · · · · So as we're getting ready to pretaxi, the                  03:23:02
 18· ·aerial observer typically pulls the left side aux                   03:23:05
 19· ·tank and landing gear pin while the crew chief will                 03:23:10
 20· ·circle around to the right and pull the right side                  03:23:14
 21· ·aux tank and landing gear safety pin followed by the                03:23:16
 22· ·nose landing gear pin and the chocks.                               03:23:18
 23· · · ·Q· · Was there a standard practice as to                        03:23:19
 24· ·instructing such an AO trainee on the -- on what to                 03:23:23
 25· ·do if the landing gear safety pin was binding or                    03:23:27


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                   JEREMIAH WILCOX - 03/17/2016           Page 36

 ·1· ·resistant?                                                          03:23:30
 ·2· · · ·A· · Anytime we train anybody, whether it's                     03:23:33
 ·3· ·maintenance or aircrew, if any resistance or binding                03:23:35
 ·4· ·is felt, just stop and get somebody to help you out                 03:23:38
 ·5· ·and look at it.                                                     03:23:44
 ·6· · · ·Q· · And what's the reason for that?                            03:23:45
 ·7· · · ·A· · Typically the reason is, at that stage,                    03:23:47
 ·8· ·they do not have enough knowledge of what's going                   03:23:48
 ·9· ·on.· So if they do find any resistance or binding in                03:23:51
 10· ·an auxiliary fuel tank pin, then they need to talk                  03:23:54
 11· ·to a flightline qualified mechanic about it.· If                    03:23:58
 12· ·there's any resistance or binding any landing gear                  03:24:03
 13· ·safety pin, then they will get an airframes mechanic                03:24:06
 14· ·to take a look at it.                                               03:24:10
 15· · · ·Q· · Would you take a look at the next form --                  03:24:12
 16· ·similar form.· It's MIL073064, and this is -- this                  03:24:14
 17· ·is the flight log for Sergeant Fontalvo for                         03:24:25
 18· ·September 2010, September 7th, 27th, and 29th,                      03:24:27
 19· ·correct?                                                            03:24:31
 20· · · ·A· · Yes, sir.                                                  03:24:31
 21· · · ·Q· · And this also would have been in Okinawa?                  03:24:31
 22· · · ·A· · Yes, sir.                                                  03:24:33
 23· · · ·Q· · Are you -- it doesn't look to me -- I can't                03:24:34
 24· ·tell for sure, but are you one of the three                         03:24:40
 25· ·gentlemen noted in the "Remarks" column?                            03:24:43


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                  JEREMIAH WILCOX - 03/17/2016            Page 59

 ·1· ·STATE OF CALIFORNIA· ·)

 ·2· · · · · · · · · · · · ·)· ss

 ·3· ·COUNTY OF ORANGE· · · )

 ·4· · · · · ·I, LINDA NICKERSON, CSR #8746, in and for

 ·5· ·the State of California do hereby certify:

 ·6· · · · · ·That, prior to being examined, the witness

 ·7· ·named in the foregoing deposition was by me duly

 ·8· ·sworn to testify the truth, the whole truth, and

 ·9· ·nothing but the truth;

 10· · · · · ·That said deposition was taken down by me in

 11· ·shorthand at the time and place therein named, and

 12· ·thereafter reduced to typewritten form at my

 13· ·direction, and the same is a true, correct, and

 14· ·complete transcript of the testimony at said

 15· ·proceedings.

 16· · · · · ·Before completion of the deposition, review

 17· ·of transcript [X] was [ ] was not requested.· If

 18· ·requested, any changes made by the deponent (and

 19· ·provided to the reporter) during the period allowed

 20· ·are appended hereto.

 21· · · · · ·I further certify that I am not interested

 22· ·in the event of the action.

 23· ·WITNESS MY HAND this 30th day of March, 2016.

 24
 · · · · · · · · · _____________________________
 25· · · · · · · · LINDA NICKERSON, CSR No. 8746


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              EXHIBIT G
     D.F., et al. v. Sikorsky Aircraft Corporation, et al.
United States District Court, Case No. 13-cv-00331-GPC-KSC
1                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF CALIFORNIA
2
3    D.F., a minor, by and through  )
     his Guardian Ad Litem, TASHINA )
4    AMADOR, individually and as    )
     successor in interest to       )
5    Alexis Fontalvo, deceased, and )
     T.L., a minor, by and through  )
6    her Guardian Ad Litem, TASHINA )             No. 3:13-cv-00331-
     AMADOR,                        )                     GPC-KSC
7                                   )
                 Plaintiffs,        )
8                                   )
           vs.                      )
9                                   )
     SIKORSKY AIRCRAFT CORPORATION; )
10   SIKORSKY SUPPORT SERVICES,     )
     INC.; UNITED TECHNOLOGIES      )
11   CORPORATION; G.E. AVIATION     )
     SYSTEMS, LLC; DUPONT AEROSPACE )
12   CO.; E.I. DUPONT DE NEMOURS    )
     AND COMPANY; IKL SERVICES INC.;)
13   and DOES 1 through 100,        )
     inclusive,                     )
14                                  )
                 Defendants.        )
15   _______________________________)
16
17
18          VIDEOTAPED DEPOSITION OF MICAH HAMILTON
19                   San Diego, California
20                Thursday, January 26, 2016
21                         Volume I
22
23   Reported By:
     CATHERINE A-M GAUTEREAUX
24   CSR No. 3122
     Job No. 2528199
25   PAGES 1 - 96

                                                            Page 1

                       Veritext Legal Solutions
                            866 299-5127
1    really, my training and what I worked on when I was            08:21:22

2    a mechanic on CH-53 Echos.

3                And the -- also, the duties and

4    responsibilities of a -- talking about the aerial

5    observer and the crew chief is also outside my MOS,            08:21:37

6    my military occupational specialty.

7         Q      Okay.   So what is your MOS?

8         A      At that time it was a 6153, which is a

9    CH-53Echo airframe mechanic.

10        Q      Okay.   And did you -- do you have any             08:21:54

11   knowledge of the CH-53E phased Kapton replacement

12   program?

13        A      No, I do not.

14        Q       I believe you just testified, you have

15   never been an aerial observer for --                           08:22:16

16        A      I was, sir.     Yes, I was an aerial

17   observer.    The last time I did fly was 2005, but

18   that was a voluntary duty that I did.           It was not

19   required of me.     I just did it to -- to help out as

20   far as the squadron.      It was during the war time.          08:22:33

21               But, like I said, last time I flew was

22   2005, which is before I met Alex Fontalvo.           So

23   whatever training he did with that, I have no

24   knowledge of.

25        Q      Okay.   When did you get your commission?          08:22:51

                                                                  Page 18

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1         Q    Okay.   And with regard to maintenance, how              08:51:43

2    many times have you done it?

3         A    Upward of a hundred times, at least.

4         Q    Okay.   Have you ever encountered a stuck

5    landing gear safety pin?                                           08:51:53

6         A    No, sir.

7         Q    As you sit here today, do you know what to

8    do if you encounter a stuck landing gear safety pin?

9         A    As I sit here today, no, sir.             Obviously,

10   after what happened, I would change what I would --                08:52:05

11   if I felt one now, I would never touch it.             But we

12   were never instructed.     It was not common knowledge,

13   if you felt, you know, something that was stuck, not

14   to pull it out.

15        Q    Okay.   So when you were working as an                   08:52:17

16   airframe mechanic, you don't believe you were ever

17   instructed as to what to do if you encountered a

18   stuck landing gear safety pin?

19        A    No, sir.

20        Q    Okay.   If there is an issue with the                    08:52:33

21   landing gear, who's the person that would have -- or

22   who would you go to in order to discuss the landing

23   gear, that particular landing gear issue?

24        A    I would be in the airframe shop.

25        Q    Okay.   And within the airframe shop, who                08:52:58

                                                                      Page 42

                              Veritext Legal Solutions
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1    them.                                                          09:54:34

2                              EXAMINATION

3    BY MR. MONTANARI:

4            Q    Captain Hamilton, my name is Gary

5    Montanari.     I represent Dupont.       I just have a few     09:54:58

6    questions.

7            A    Okay.

8            Q    Do I understand from your prior testimony

9    that between 1999 and 2010, you pulled the landing

10   gear safety pin on CH-53E helicopters at least                 09:55:11

11   150 times?

12           A    Yes, sir.

13           Q    All right.    And that's both prior to

14   flight and during maintenance operations?

15           A    Yes, sir.                                         09:55:22

16           Q    And you testified that one of the things

17   you knew was that you kept the landing gear safety

18   pin in if you wanted to prohibit the landing gear

19   from retracting, correct?

20           A    Yes, sir.                                         09:55:35

21           Q    Now, on any of those 150 times or more

22   that you pulled the landing gear safety pin, did you

23   ever get any resistance to the pin coming out?

24           A    No, sir.

25           Q    So each -- it comes out fairly easily,            09:55:47

                                                                  Page 82

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1                 I, the undersigned, a Certified Shorthand
2    Reporter of the State of California, do hereby
3    certify:
4                 That the foregoing proceedings were
5    reported by me at the time and place herein set
6    forth; that any witnesses in the foregoing
7    proceedings, prior to testifying, were placed under
8    oath; that a verbatim record of the proceedings was
9    made by me using machine shorthand which was
10   thereafter transcribed under my direction; further,
11   that the foregoing is an accurate transcription
12   thereof.
13                That a review of the transcript by the
14   deponent was requested.
15                I further certify I am neither financially
16   interested in the action nor a relative or employee
17   of any attorney of any of the parties.
18                IN WITNESS WHEREOF, I have this date
19   subscribed my name.
20   Dated:     February 8, 2017.
21
22
23
24               <%signature%>
                 CATHERINE A-M GAUTEREAUX
25               CSR NO. 3122

                                                     Page 96

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              EXHIBIT H
     D.F., et al. v. Sikorsky Aircraft Corporation, et al.
United States District Court, Case No. 13-cv-00331-GPC-KSC
                JUSTIN ROBERT BROWN - 02/19/2016                ·

 ·1· · · · · · · · UNITED STATES DISTRICT COURT

 ·2· · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

 ·3

 ·4· · · · · · · · · ·AGENCY Case No. 13-cv-00331-GPC-KSC

 ·5· ·- - - - - - - - - - - - - - - - - - - x

 ·6· ·Dominic Fontalvo a minor, by and through

 ·7· ·his Guardian Ad Litem, Tashina Amador,

 ·8· ·individually and as successor in interest

 ·9· ·to Alexis Fontalvo, deceased, and T.L.

 10· ·a minor, by and through her Guardian

 11· ·Ad Litem, Tashina Amador,

 12
 · · · · · · · · · · · · · · Plaintiffs,
 13· ·vs

 14· ·Sikorsky Aircraft Corporation, Sikorsky

 15· ·Support Services, Inc., et al,

 16

 17· · · · · · · · · · · · · Defendants.

 18· ·- - - - - - - - - - - - - - - - - - - x

 19· · · · DEPOSITION OF JUSTIN ROBERT BROWN

 20· · · · · · · · ·Quantico, Virginia

 21· · · · · · · · ·February 19, 2016

 22· · · · · · · · · · ·1:15· p.m.

 23

 24· · · · · · · · · · ·* * * * *

 25


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                 JUSTIN ROBERT BROWN - 02/19/2016        Page 118

 ·1· ·can recollect.· I don't recall.
 ·2· · · · Q· · As you sit here you don't recall there
 ·3· ·was any change made to the NATOPS, any permanent
 ·4· ·change made to the NATOPS manual?
 ·5· · · · A· · I believe there was, but I don't have
 ·6· ·like the utmost confidence.· I want to say yes,
 ·7· ·but I'm not sure.· I cannot remember.
 ·8· · · · Q· · Was there a warning added to the NATOPS
 ·9· ·manuals?
 10· · · · A· · It would have been probably either a
 11· ·note warning or a caution, most likely a warning
 12· ·because serious injury or death could result.
 13· · · · · · ·MR. HICKEY:· Two more exhibits.· If you
 14· · · · want copies?
 15· ·(Whereupon, Deposition J. Brown Exhibit No. 15 is
 16· ·marked for Identification.)
 17· ·(Whereupon, Deposition J. Brown Exhibit No. 16 is
 18· ·marked for Identification.)
 19· · · · · · ·MR. HICKEY:· Deposition Exhibit 15 is a
 20· · · · portion of the NATOPS manual from July 2012.
 21· · · · · · ·It has Bates Numbers MIL 012064 through
 22· · · · 66 and then some additional pages MIL 012382
 23· · · · to 012385.
 24· ·BY MR. HICKEY:
 25· · · · Q· · Captain Brown, do you have Deposition


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                JUSTIN ROBERT BROWN - 02/19/2016         Page 119

 ·1· ·Exhibit 15 in front of you?
 ·2· · · · A· · I do.
 ·3· · · · Q· · Do you recognize this document?
 ·4· · · · A· · Yes.
 ·5· · · · Q· · What is this document?
 ·6· · · · A· · It is excerpts out of a NATOPS manual
 ·7· ·dated 1 July 2012, so an updated version.
 ·8· · · · Q· · If you could turn to page MIL 012384.
 ·9· ·Go down to step Number 21, Pins and Chocks.· Do
 10· ·you see the warning underneath there?
 11· · · · A· · I sure do.
 12· · · · Q· · ·I will just read it.· "If any
 13· ·resistance or binding is felt while pulling a
 14· ·landing gear safety pin, reseat it immediately and
 15· ·do not attempt to remove any of the remaining
 16· ·pins.
 17· · · · · · ·"Failure to do so may allow the landing
 18· ·gear to inadvertently retract from the ground."
 19· · · · · · ·Having read this, does this refresh your
 20· ·memory as to whether any changes were made to the
 21· ·manuals after the accident involving Sergeant
 22· ·Fontalvo?
 23· · · · A· · Clearly.
 24· · · · Q· · To your knowledge is that warning still
 25· ·in place in the NATOPS manuals?


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                JUSTIN ROBERT BROWN - 02/19/2016         Page 120

 ·1· · · · A· · To the best of my knowledge.
 ·2· ·(Whereupon, Deposition J. Brown Exhibit No. 16 is
 ·3· ·marked for Identification.)
 ·4· ·BY MR. HICKEY:
 ·5· · · · Q· · If you will go to Deposition Exhibit 16
 ·6· ·dated 1 January 2015, and go to page 014900, again
 ·7· ·on Step 21, do you see that the warning is still
 ·8· ·there?
 ·9· · · · A· · Correct.
 10· · · · Q· · Other than that warning being put into a
 11· ·NATOPS manual, are you aware of any other changes
 12· ·to the NATOPS manuals for CH-53 E Helicopter that
 13· ·are the result of the accident involving Sergeant
 14· ·Fontalvo?
 15· · · · A· · Not that I am aware of.
 16· · · · Q· · Do you know if a similar warning was put
 17· ·in the NATOPS check list for the CH-53 E
 18· ·Helicopter?
 19· · · · A· · The pocket check list, the NFM 500?
 20· · · · Q· · Correct.
 21· · · · A· · I would assume so since this is Chapter
 22· ·7, so this is basically the pocket check list, so
 23· ·an exact mirrored version would most likely be in
 24· ·the NFM 500.
 25· · · · Q· · Would the same warning also have been


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                 JUSTIN ROBERT BROWN - 02/19/2016        Page 121

 ·1· ·put into the pocket check list for the air crew,
 ·2· ·the NFM-900?
 ·3· · · · A· · I would assume, but that is an
 ·4· ·assumption.
 ·5· · · · Q· · Does the NATOPS flight manual contain
 ·6· ·emergency procedures?
 ·7· · · · A· · It does.
 ·8· · · · Q· · What information is given to the flight
 ·9· ·crew of a CH-53 E in the emergency procedures that
 10· ·are listed in the flight manual?
 11· · · · A· · It is step-by-step instructions of what
 12· ·to do if you are presented with an emergency just
 13· ·classified by different systems in the aircraft.
 14· · · · · · ·It is pretty lengthy.· I believe it is
 15· ·Chapter 12 perhaps.· It is pretty lengthy
 16· ·especially in the 53s since it has a lot of
 17· ·systems.
 18· · · · · · ·So to recap step-by-step instructions of
 19· ·what to do.· The pilots have a set of steps and
 20· ·the air crew have their set of steps and sometimes
 21· ·they overlap.
 22· · · · Q· · Theses are designed to give the flight
 23· ·crew information in the event of a variety of
 24· ·different types of emergencies that could occur?
 25· · · · A· · That are known, correct, yes.


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                JUSTIN ROBERT BROWN - 02/19/2016         Page 154

 ·1

 ·2· ·UNITED STATES OF AMERICA· )

 ·3· · · · · · · · · · · · · · · · ss:
 · · ·COMMONWEALTH OF VIRGINIA· )
 ·4

 ·5
 · ·   · · · · · · I, T. S. HUBBARD, JR., a Notary Public
 ·6
 · ·   ·within and for the District of Columbia do hereby
 ·7
 · ·   ·certify that the witness whose deposition is
 ·8
 · ·   ·hereinbefore set forth was duly sworn and that the
 ·9
 · ·   ·within transcript is a true record of the testimony
 10
 · ·   ·given by such witness.
 11

 12
 · ·   · · · · · ·I further certify that I am not related
 13
 · ·   ·to any of the parties to this action by blood or
 14
 · ·   ·marriage and that I am in no way interested in the
 15
 · ·   ·outcome of this matter.
 16

 17
 · · · · · · · ·IN WITNESS WHEREOF, I have hereunto set
 18
 · · ·my hand this 29TH day of February 2016.
 19

 20· ·____________________________

 21· ·Thomas S. Hubbard, Jr.
 · · ·Notary Public Commonwealth of Virginia
 22

 23

 24

 25


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1                    UNITED STATES DISTRICT COURT
2                  SOUTHERN DISTRICT OF CALIFORNIA
3                    CASE NO. 13-CV-00331-GPC-KSC
4    ____________________________________________
     D.F. a minor, by and through his Guardian Ad)
5    Litem, TASHINA AMADOR, individually and as )
     successor in interest t Alexis Fontalvo,     )
6    deceased, and T.L. a minor, by and through )
     her Guardian Ad Litem, TASHINA AMADOR,       )
7                                                 )
             Plaintiffs                           )
8                                                 )
         VS.                                      )
9                                                 )
     SIKORSKY AIRCRAFT CORPORATION; SIKORSKY      )
10   SUPPORT SERVICES, INC.; UNITED TECHNOLOGIES )
     CORPORATION; G.E. AVIATION SYSTEMS, LLC;     )
11   DUPONT AEROSPACE CO,; E.I. DUPONT DE NEMOURS)
     AND COMPANY; PKL SERVICES, INC.; and DOES 1 )
12   through 100, inclusive,                      )
                                                  )
13           Defendants                           )
                                                  )
14
15
16
17        Deposition of ROBERT JORDAN, taken on behalf of
18   the Defendants, before Tamara Violette, Professional
19   Reporter and Notary Public, at Courtyard by Marriott, 218
20   East Front Street, New Bern, North Carolina on the 16th day
21   of November, 2016, commencing at 9:05 a.m.
22
23
24
25   Pages 1 - 62

                                                      Page 1

                          Veritext Legal Solutions
                               866 299-5127
1    tools?

2         A       No.

3         Q       So how would you describe your job?     You're

4    involved in maintenance but you're not actually maintaining

5    the aircraft?

6         A       Right.    We write the instructions for maintaining

7    the aircraft.       Sikorsky delivered the initial maintenance

8    publications for the aircraft, and we have taken over

9    cognizance of those manuals and we maintain them for

10   maintenance requirements, as well as maintenance

11   instructions.

12        Q       Do you know what -- were you involved --

13   withdrawn.     Were you involved when the original

14   instructions were agreed upon for the CH-53E aircraft?

15        A       No, that was before my time.

16        Q       Again, when did you join NAVAIR?

17        A       In 1984, November of 1984.

18        Q       Just after you got your degree?

19        A       Yes.

20        Q       Going on something over twenty years now?

21        A       Thirty-two as of last Sunday.

22        Q       Briefly just describe the job titles you've had

23   -- thirty-two?

24        A       Yes.

25        Q       I missed a decade, I'm sorry.

                                                           Page 23

                               Veritext Legal Solutions
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1    in your --

2         A       That was correct, I did not attend any.

3         Q       You did mention that your responsibilities

4    include the landing gear and hydraulic systems.         Were there

5    any changes to either the landing gear or hydraulic systems

6    as a result of the 2011 accident with respect to

7    maintenance?

8         A       Maintenance, yes.      As far as the requirements to

9    not remove the safety pins, for any other thing than going

10   flight, and that is covered in an operational manual that

11   we do not have cognizance over the NATOPS, but we did add

12   warnings or cautions in to several publications saying

13   don't remove the pins unless aircraft is jacked; and if you

14   are removing the pins, if there's any resistance felt, do

15   not pull the pin out.

16        Q       Okay, with respect to the landing gear other than

17   pins, were there any changes made to the maintenance

18   manuals?

19        A       No -- well, again, that was warnings added.

20        Q       Okay.

21        A       There were inspection requirements, I believe,

22   added on the daily to look at the wire bundle going to the

23   utility module control valve for the landing gear; that

24   they should be looking for chaffing and damage that is in

25   there.     Now, when that was put in, I don't know exactly but

                                                            Page 58

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1                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF CALIFORNIA
2                    CASE NO. 13-CV-00331-GPC-KSC
     ____________________________________________
3    D.F. a minor, by and through his Guardian Ad)
     Litem, TASHINA AMADOR, individually and as )
4    successor in interest t Alexis Fontalvo,     )
     deceased, and T.L. a minor, by and through )
5    her Guardian Ad Litem, TASHINA AMADOR,       )
                                                  )
6            Plaintiffs                           )
                                                  )CERTIFICATE
7        VS.                                      )
                                                  )
8    SIKORSKY AIRCRAFT CORPORATION; SIKORSKY      )
     SUPPORT SERVICES, INC.; UNITED TECHNOLOGIES )
9    CORPORATION; G.E. AVIATION SYSTEMS, LLC;     )
     DUPONT AEROSPACE CO,; E.I. DUPONT DE NEMOURS)
10   AND COMPANY; PKL SERVICES, INC.; and DOES 1 )
     through 100, inclusive,                      )
11                                                )
             Defendants                           )
12                                                )
13
          I, Tamara Violette, PR, a certified court reporter and
14   notary public for Pender County, North Carolina, do hereby
     certify that Robert Jordan appeared before me on November
15   16, 2016 and was duly sworn by me; that he was required to
     review the transcript; that he was thereupon examined and
16   his testimony transcribed by me or under my direct
     supervision; that the foregoing 60 pages constitute a true
17   and accurate record of the proceedings to the best of my
     knowledge and belief;
18        I further certify that I am neither attorney or
     counsel for, nor related to or employed by, any of the
19   parties to the action in which this deposition was taken,
     and further, that I am not a relative or employee of any
20   attorney or counsel employed by the parties hereto, not
     interested, directly or indirectly, in the matters of
21   controversy nor financially interested in the results of
     this action.
22        In witness whereof, I have hereunto set my hand on
     this, the 1st day of December, 2016.
23
24
                                   <%signature%>
25                                 TAMARA VIOLETTE
                                   PROFESSIONAL REPORTER

                                                           Page 61

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                JOSHUA DAVID PERKINS - 02/19/2016               ·

 ·1· · · · · · · · UNITED STATES DISTRICT COURT

 ·2· · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

 ·3

 ·4· · · · · · · · · ·AGENCY Case No. 13-cv-00331-GPC-KSC

 ·5· ·- - - - - - - - - - - - - - - - - - - x

 ·6· ·Dominic Fontalvo a minor, by and through

 ·7· ·his Guardian Ad Litem, Tashina Amador,

 ·8· ·individually and as successor in interest

 ·9· ·to Alexis Fontalvo, deceased, and T.L.

 10· ·a minor, by and through her Guardian

 11· ·Ad Litem, Tashina Amador,

 12
 · · · · · · · · · · · · · · Plaintiffs,
 13· ·vs

 14· ·Sikorsky Aircraft Corporation, Sikorsky

 15· ·Support Services, Inc., et al,

 16

 17· · · · · · · · · · · · · Defendants.

 18· ·- - - - - - - - - - - - - - - - - - - x

 19· · · · DEPOSITION OF JOSHUA DAVID PERKINS

 20· · · · · · · · ·Quantico, Virginia

 21· · · · · · · · ·February 19, 2016

 22· · · · · · · · · · ·9:00 a.m.

 23

 24· · · · · · · · · · ·* * * * *

 25


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                JOSHUA DAVID PERKINS - 02/19/2016         Page 25

 ·1· · · · · · ·Then once I got out to my first unit,
 ·2· ·HMH 361, there are multiple different syllabi that
 ·3· ·we follow under our training program that
 ·4· ·step-by-step takes you along the way to get you to
 ·5· ·where you need to be for each qualification.
 ·6· · · · · · ·There are hundreds of maintenance
 ·7· ·manuals that you're constantly reading, looking
 ·8· ·at, and going out with experienced guys learning
 ·9· ·the jobs turning these things apart and back
 10· ·together, fixing and doing what it is we need to
 11· ·do.
 12· · · · Q· · Are all of the syllabi and maintenance
 13· ·manuals that you are referring to related to power
 14· ·plant?
 15· · · · A· · They are related to just about
 16· ·everything.· When Sikorsky, like with all of their
 17· ·publications, came out, it was all from the air
 18· ·frame pretty much all the way to the back of the
 19· ·aircraft, all broken down into different numbers
 20· ·and then different numbers are broken down into
 21· ·numbers for maintenance procedures, theory of
 22· ·operations, parts ordering, and parts breakdown
 23· ·and things of that nature.
 24· · · · Q· · Were you given any training regarding a
 25· ·preflight inspection of helicopters?


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                JOSHUA DAVID PERKINS - 02/19/2016         Page 34

 ·1· ·let the pilots know, and let's start to
 ·2· ·investigate so this does not further happen.
 ·3· · · · Q· · Do you know if there were any changes to
 ·4· ·the NATOPS check list with regard to pulling the
 ·5· ·landing gear pin?
 ·6· · · · A· · At the time someone higher up in the
 ·7· ·Marine Corps said, "We're going to safety wire all
 ·8· ·of these landing gear pins in and they are not
 ·9· ·going to be removed until the investigation is
 10· ·complete."
 11· · · · · · ·Once the investigation was complete, and
 12· ·I'm not 100 percent sure if it was actually
 13· ·physically a black and white change, but we're not
 14· ·going to pull any landing gear pins or we will be
 15· ·pulling landing gear pins, but we will do that
 16· ·before the auxillary power plant comes on so there
 17· ·is no electricity going to the aircraft so that
 18· ·there was no chance at that point of somebody
 19· ·being under the aircraft if this were to happen
 20· ·again, so we would pull our pins first, then start
 21· ·our normal daily turn up and flight, then we would
 22· ·shut down the aircraft and put our pins back in.
 23· · · · · · ·I don't know if that made it 100 percent
 24· ·black and white in the book, but I know that
 25· ·that's what we went by and then deployment


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                JOSHUA DAVID PERKINS - 02/19/2016         Page 35

 ·1· ·happened, so the next thing you know, I was
 ·2· ·PCS'ing out of there.
 ·3· · · · Q· · You mentioned two things, I think.        I
 ·4· ·will just confirm this.· So post accident with
 ·5· ·regard to the CH-53 Helicopter, for a certain
 ·6· ·amount of time you kept the landing gear safety
 ·7· ·pins in the landing gear?
 ·8· · · · A· · Yes.
 ·9· · · · Q· · While you're flying?
 10· · · · A· · Yes, sir.
 11· · · · Q· · While flying, the landing gear was
 12· ·always extended?
 13· · · · A· · Yes, sir.
 14· · · · Q· · At some point did that procedure stop
 15· ·and go back to what it was before the accident
 16· ·being that you would pull the pin out and retract
 17· ·the gear?
 18· · · · A· · It went not 100 percent back.· We just
 19· ·went back to pulling the pins before our APU came
 20· ·online or when we were at 100 percent with the
 21· ·main rotor head ready to actually taxi out, so
 22· ·that's when we would pull them.
 23· · · · · · ·And now when the new change came into
 24· ·place, once the investigation was over, we would
 25· ·pull the pins before the APU comes online, outside


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                JOSHUA DAVID PERKINS - 02/19/2016        Page 109

 ·1

 ·2· ·UNITED STATES OF AMERICA· )

 ·3· · · · · · · · · · · · · · · · ss:
 · · ·COMMONWEALTH OF VIRGINIA· )
 ·4

 ·5
 · ·   · · · · · · I, T. S. HUBBARD, JR., a Notary Public
 ·6
 · ·   ·within and for the District of Columbia do hereby
 ·7
 · ·   ·certify that the witness whose deposition is
 ·8
 · ·   ·hereinbefore set forth was duly sworn and that the
 ·9
 · ·   ·within transcript is a true record of the testimony
 10
 · ·   ·given by such witness.
 11

 12
 · ·   · · · · · ·I further certify that I am not related
 13
 · ·   ·to any of the parties to this action by blood or
 14
 · ·   ·marriage and that I am in no way interested in the
 15
 · ·   ·outcome of this matter.
 16

 17
 · · · · · · · ·IN WITNESS WHEREOF, I have hereunto set
 18
 · · ·my hand this 29TH day of February 2016.
 19

 20· ·____________________________

 21· ·Thomas S. Hubbard, Jr.
 · · ·Notary Public Commonwealth of Virginia
 22

 23

 24

 25


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1                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF CALIFORNIA
2
3    D.F., a minor, by and through  )
     his Guardian Ad Litem, TASHINA )
4    AMADOR, individually and as    )
     successor in interest to       )
5    Alexis Fontalvo, deceased, and )
     T.L., a minor, by and through  )
6    her Guardian Ad Litem, TASHINA )          No. 3:13-cv-00331-
     AMADOR,                        )                  GPC-KSC
7                                   )
                 Plaintiffs,        )
8                                   )
           vs.                      )
9                                   )
     SIKORSKY AIRCRAFT CORPORATION; )
10   SIKORSKY SUPPORT SERVICES,     )
     INC.; UNITED TECHNOLOGIES      )
11   CORPORATION; G.E. AVIATION     )
     SYSTEMS, LLC; DUPONT AEROSPACE )
12   CO.; E.I. DUPONT DE NEMOURS    )
     AND COMPANY; IKL SERVICES INC.;)
13   and DOES 1 through 100,        )
     inclusive,                     )
14                                  )
                 Defendants.        )
15   _______________________________)
16
17
18      VIDEOTAPED DEPOSITION OF CHRISTOPHER A. DANLEY
19                   San Diego, California
20                Tuesday, November 22, 2016
21                         Volume I
22
23   Reported By:
     CATHERINE A-M GAUTEREAUX
24   CSR No. 3122
25   Job No. 2482433
     PAGES 1 - 68                                                   1

                                                          Page 1

                        Veritext Legal Solutions
                             866 299-5127
1    where the aux tank pin was, you don't know whether              10:51:57

2    he was using it to try to pull out the landing gear

3    safety pin or not?

4         A      I don't.   I don't know if he was trying to

5    use it as leverage, no.                                         10:52:07

6         Q      You talked about getting some training

7    from the Marines after the incident on what to do in

8    the event of a stuck landing gear safety pin,

9    correct?

10        A      Yes.                                                10:52:24

11        Q      And how long was that after the accident

12   that you got that training?

13        A      We -- once we started doing flight ops

14   again, we immediately started saying -- or training

15   about it.                                                       10:52:36

16        Q      Was that within a week or two weeks or a

17   month or --

18        A      I believe it was two weeks.        I'm not -- I

19   can't recall.

20        Q      And was that training verbal?                       10:52:45

21        A      Yes.

22        Q      Was there any written documentation also

23   given to you?

24        A      At that point, no.    Later on, they made a

25   change to the publication.                                      10:52:56

                                                                   Page 59

                              Veritext Legal Solutions
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1           Q       Which pub- -- publication?                        10:52:58

2           A       I believe, in the 130 and the pocket

3    checklist.

4           Q       What's the 130?

5           A       130 is the landing gear systems.       I also     10:53:10

6    believe -- not 100 percent sure -- that's in the

7    GAI.       General Aircraft Information.

8           Q       You said it was in the 130, which is the

9    landing gear systems?

10          A       Yes.                                              10:53:32

11          Q       Is that the maintenance manual or --

12          A       Yes, it's the maintenance manual.

13          Q       And you said there was also a change in

14   the -- did you say pocket checklist?

15          A       Yes.                                              10:53:41

16          Q       When you -- strike that.      On the day of

17   the incident, when you were going to taxi the

18   aircraft, is there a checklist or document that you

19   were referring to?

20          A       I was not -- I did not -- it didn't               10:53:55

21   require me to have one with me.

22          Q       After this incident, did you have any

23   discussion with anyone else, any other Marines who

24   had ever had any problems pulling a landing gear

25   safety pin?                                                      10:54:37

                                                                    Page 60

                                Veritext Legal Solutions
                                     866 299-5127
1                 I, the undersigned, a Certified Shorthand
2    Reporter of the State of California, do hereby
3    certify:
4                 That the foregoing proceedings were
5    reported by me at the time and place herein set
6    forth; that any witnesses in the foregoing
7    proceedings, prior to testifying, were placed under
8    oath; that a verbatim record of the proceedings was
9    made by me using machine shorthand which was
10   thereafter transcribed under my direction; further,
11   that the foregoing is an accurate transcription
12   thereof;
13                That a review of the transcript by the
14   deponent was requested;
15                I further certify I am neither financially
16   interested in the action nor a relative or employee
17   of any attorney of any of the parties.
18                IN WITNESS WHEREOF, I have this date
19   subscribed my name.
20   Dated:     December 9, 2016
21
22
23
24                             <%signature%>
25                             CATHERINE A-M GAUTEREAUX
                               CSR NO. 3122

                                                     Page 68

                          Veritext Legal Solutions
                               866 299-5127
                   JOHN WAKEFIELD - 05/09/2017                  ·

 ·1· · · · · · · ·UNITED STATES DISTRICT COURT

 ·2· · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

 ·3

 ·4

 ·5·   ·DOMINIC FONTALVO, a minor,· )Case No.
 · ·   ·by and through his Guardian )3:13-cv-00331-GPC-KSC
 ·6·   ·Ad Litem,TASHINA AMADOR,· · )
 · ·   ·individually and as a· · · ·)
 ·7·   ·successor in interest to· · )
 · ·   ·Alexis Fontalvo, deceased,· )
 ·8·   ·and TANIKA LONG, a minor,· ·)
 · ·   ·by and through her Guardian )
 ·9·   ·Ad Litem, TASHINA AMADOR,· ·)
 · ·   · · · · · · · · · · · · · · ·)
 10·   · · · · · · Plaintiff,· · · ·)
 · ·   · · · · · · · · · · · · · · ·)
 11·   ·v.· · · · · · · · · · · · · )
 · ·   · · · · · · · · · · · · · · ·)
 12·   ·SIKORSKY AIRCRAFT· · · · · ·)
 · ·   ·CORPORATION; SIKORSKY· · · ·)
 13·   ·SUPPORT SERVICES, INC.;· · ·)
 · ·   ·UNITED TECHNOLOGIES· · · · ·)
 14·   ·CORPORATION, et al.,· · · · )
 · ·   · · · · · · · · · · · · · · ·)
 15·   · · · · · ·Defendants.· · · ·)VOLUME 2
 · ·   ·____________________________)Pages 102 - 284
 16

 17· ·DEPOSITION OF:

 18· · · · · · · · · ·JOHN WAKEFIELD

 19· · · · · · · · · ·TUESDAY, MAY 9, 2017

 20· · · · · · · · · ·10:19 A.M.

 21

 22

 23

 24· ·REPORTED BY:· · c. jane harman

 25· · · · · · · · · ·CSR No. 5266


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                   JOHN WAKEFIELD - 05/09/2017           Page 136

 ·1· · · · · · There are general guidance not only in
 ·2· ·SD24J and other detailed -- other reference
 ·3· ·specifications for the Navy.· So it may not be
 ·4· ·there, it could be in another Navy specification.
 ·5· · · · Q.· Okay.· So still in Appendix B of your
 ·6· ·report on page twelve, you've got a list of items
 ·7· ·under the heading "Additional Consideration Relating
 ·8· ·to the Contract and Specification Are Listed Below."
 ·9· · · · · · Do you see that?
 10· · · · A.· I do.
 11· · · · Q.· Okay.· So item A there is:
 12· · · · · · "U.S. Navy had its own engineers
 13· · · · · · and routinely reviews and approves
 14· · · · · · even the smallest detail of the
 15· · · · · · design, test and manufacturing
 16· · · · · · process."
 17· · · · · · Is there any evidence in either of these
 18· ·binders that the U.S. Navy engineers reviewed or
 19· ·approved any detail of the landing gear wiring
 20· ·harness of the CH-53E?
 21· · · · A.· There is nothing in those manuals that I --
 22· ·that information that I've provided you.
 23· · · · Q.· Now, you used the term "manual."· I was --
 24· ·I was going to ask you --
 25· · · · A.· I misspoke on manuals.· Those are


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                   JOHN WAKEFIELD - 05/09/2017           Page 137

 ·1· ·specifications and reports.
 ·2· · · · Q.· Okay.· What is a manual?
 ·3· · · · A.· In my experience --
 ·4· · · · Q.· Yeah.
 ·5· · · · A.· -- a manual is something that's produced
 ·6· ·relative to aviation manuals are produced by the
 ·7· ·government and delivered to the user at one level or
 ·8· ·the other.
 ·9· · · · Q.· Okay.· And in your capacity working as a
 10· ·program manager within military aviation, did you
 11· ·ever participate in the drafting of a manual?
 12· · · · A.· No, I never did.
 13· · · · Q.· Okay.· And did you ever participate in
 14· ·the contracting for the drafting of a manual?
 15· · · · A.· No.
 16· · · · · · And let me explain.· Manuals are not
 17· ·drafted by Sikorsky Aircraft.· Sikorsky Aircraft
 18· ·provides to the Navy engineering data for which the
 19· ·Navy produces a manual.
 20· · · · Q.· Do you -- is there any documentary evidence
 21· ·in either of these binders that Sikorsky ever
 22· ·provided engineering data to the Navy with respect
 23· ·to the risk of an inadvertent landing gear
 24· ·retraction in the event of a short circuit?
 25· · · · A.· Very specific question.· Can I have that


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                   JOHN WAKEFIELD - 05/09/2017           Page 138

 ·1· ·read back?
 ·2· · · · · · MR. SHEPARDSON:· Please.
 ·3· · · · · · (The record was read as follows:
 ·4· · · · · · QUESTION:· Is there any documentary
 ·5· · · · · · evidence in either of these binders
 ·6· · · · · · that Sikorsky ever provided engineering
 ·7· · · · · · data to the Navy with respect to the
 ·8· · · · · · risk of an inadvertent landing gear
 ·9· · · · · · retraction in the event of a short
 10· · · · · · circuit?)
 11· · · · · · THE WITNESS:· There is nothing in those
 12· ·manuals that I have utilized to prepare my opinions.
 13· ·BY MR. SHEPARDSON:
 14· · · · Q.· And again, did you misspeak when you said
 15· ·"manuals," you meant --
 16· · · · A.· I apologize.· It's a -- I did misspeak, so
 17· ·my apologies.· It is information provided.
 18· · · · Q.· Okay.· So going back to the list in
 19· ·Appendix B here, sub letter B is:
 20· · · · · · "U.S. Navy has its own flight
 21· · · · · · worthiness approval authority and
 22· · · · · · determines whether the helicopter
 23· · · · · · is safe for flight and safe for
 24· · · · · · use."
 25· · · · · · MR. HUNT:· Where are you reading from,


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                   JOHN WAKEFIELD - 05/09/2017           Page 286

 ·1
 · · ·STATE OF CALIFORNIA· ·)
 ·2· · · · · · · · · · · · ·)· ss
 · · ·COUNTY OF LOS ANGELES )
 ·3

 ·4· · · · · · · I, c. jane harman, CSR No. 5266, in and

 ·5· ·for the State of California do hereby certify:

 ·6· · · · · · · That, prior to being examined, the

 ·7· ·witness named in the foregoing deposition was by me

 ·8· ·duly sworn to testify the truth, the whole truth,

 ·9· ·and nothing but the truth;

 10· · · · · · · That said deposition was taken down by me

 11· ·in shorthand at the time and place therein named,

 12· ·and thereafter reduced to typewritten form

 13· ·direction, and the same is a true, correct and

 14· ·complete transcript of said proceedings.

 15· · · · · · · Before completion of the deposition,

 16· ·review of transcript [ ] was [ ] was not requested.

 17· · · · · · If requested, any changes made by the

 18· ·deponent (and provided to the reporter) during the

 19· ·period allowed are appended hereto.

 20· · · · · · · I further certify that I am not

 21· ·interested in the event of the action.

 22· · · · · · WITNESS MY HAND this 25TH day of MAY,

 23· ·2017.

 24· · · · · · · ________________________________

 25· · · · · · · · c. jane harman, CSR No. 5266


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                 IAN DANIEL STEVENS - 03/16/2016                ·

 ·1· · · · · · · UNITED STATES DISTRICT COURT

 ·2· · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA

 ·3

 ·4

 ·5·   ·Dominic Fontalvo, a minor,· ·)
 · ·   ·by and through his Guardian· )
 ·6·   ·Ad Litem, Tashina Amador,· · ) Civil Action No.
 · ·   ·individually and as· · · · · )
 ·7·   ·successor in interest to· · ·) 13-cv-00331-GPC-KSC
 · ·   ·Alexis Fontalvo, deceased,· ·)
 ·8·   ·and T.L., a minor, by and· · )
 · ·   ·through her Guardian Ad· · · )
 ·9·   ·Litem, Tashina Amador,· · · ·)
 · ·   · · · · · · · · · · · · · · · )
 10·   · · · · · · · Plaintiffs,· · ·) Pages 1-226
 · ·   · · · · · · · · · · · · · · · )
 11·   · · · VS.· · · · · · · · · · ·)
 · ·   · · · · · · · · · · · · · · · )
 12·   ·Sikorsky Aircraft· · · · · · )
 · ·   ·Corporation, Sikorsky· · · · )
 13·   ·Support Services, Inc.,· · · )
 · ·   ·et al.,· · · · · · · · · · · )
 14·   · · · · · · · · · · · · · · · )
 · ·   · · · · · · · Defendants.· · ·)
 15·   ·____________________________ )

 16

 17· ·VIDEOTAPED DEPOSITION OF:

 18· · · · · ·IAN DANIEL STEVENS

 19· · · · · ·WEDNESDAY, MARCH 16, 2016

 20· · · · · ·10:23 A.M.

 21

 22

 23

 24· ·Reported by:· LINDA NICKERSON

 25· · · · · · · · ·CSR No. 8746


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                 IAN DANIEL STEVENS - 03/16/2016          Page 86

 ·1· · · ·Q· · And your source for that was Enclosure 23;                 11:45:43
 ·2· ·am I correct?                                                       11:45:53
 ·3· · · ·A· · Yes, sir.                                                  11:45:54
 ·4· · · ·Q· · Let's take a look at Enclosure 23.· Do you                 11:45:54
 ·5· ·have it?                                                            11:46:01
 ·6· · · ·A· · Yes, sir.                                                  11:46:01
 ·7· · · ·Q· · Okay.· What is -- what is Enclosure 23?                    11:46:02
 ·8· · · ·A· · It is a page of the maintenance manual.                    11:46:06
 ·9· · · ·Q· · This says, "GAI" up on top?                                11:46:09
 10· · · ·A· · Yes, sir.                                                  11:46:12
 11· · · ·Q· · Does that mean general aircraft                            11:46:12
 12· ·information?                                                        11:46:14
 13· · · ·A· · It might, sir.                                             11:46:15
 14· · · ·Q· · Okay.                                                      11:46:16
 15· · · ·A· · Sounds accurate to me, but I simply don't                  11:46:18
 16· ·know.                                                               11:46:21
 17· · · ·Q· · Okay.· And on that page, on the -- let's                   11:46:21
 18· ·see here -- I guess Enclosure 23 is one page.                       11:46:27
 19· ·There's a section down in the middle in the first                   11:46:32
 20· ·column which says "Safety Pins"?                                    11:46:34
 21· · · ·A· · Yes, sir.                                                  11:46:36
 22· · · ·Q· · Would you read into the record the last                    11:46:36
 23· ·paragraph on the left side?                                         11:46:44
 24· · · ·A· · Yes.· "Landing gear pins (three) provide a                 11:46:48
 25· ·mechanical lock to landing gear drag struts to                      11:46:52


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                 IAN DANIEL STEVENS - 03/16/2016          Page 87

 ·1· ·prevent accidental retraction of landing gear or                    11:46:56
 ·2· ·collapsing of gear resulting from a malfunction of                  11:46:58
 ·3· ·drag strut.· Safety pin is installed in each                        11:47:01
 ·4· ·auxiliary tank to prevent accidental dropping of                    11:47:03
 ·5· ·tank while the helicopter is on the ground.· Safety                 11:47:07
 ·6· ·pins mechanically and electrically lock out in the                  11:47:11
 ·7· ·jettison mechanism in tank."                                        11:47:11
 ·8· · · ·Q· · Okay.· And what's the date of Enclosure 23,                11:47:13
 ·9· ·the GAI?                                                            11:47:16
 10· · · ·A· · It looks like it's change 4, 1 July 2003.                  11:47:16
 11· · · ·Q· · So preaccident obviously?                                  11:47:21
 12· · · ·A· · Yes, sir.                                                  11:47:24
 13· · · ·Q· · So this existed preaccident.· What -- where                11:47:25
 14· ·did you get this -- throughout your report, you have                11:47:27
 15· ·a number of manuals or extracts from a number of                    11:47:30
 16· ·manuals?                                                            11:47:35
 17· · · ·A· · Yes, sir.                                                  11:47:35
 18· · · ·Q· · Where did you get those manuals?                           11:47:36
 19· · · ·A· · We have a public -- a publication library                  11:47:37
 20· ·maintained by the -- sorry -- publication library                   11:47:41
 21· ·maintained by the quality assurance shop, sir.                      11:47:45
 22· · · ·Q· · Okay.· Did you get any of the manuals from                 11:47:47
 23· ·the accident aircraft?                                              11:47:51
 24· · · ·A· · Each aircraft doesn't have its own manual.                 11:47:53
 25· ·So these are -- these are maintenance manuals                       11:47:56


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                 IAN DANIEL STEVENS - 03/16/2016          Page 88

 ·1· ·specific only to the CH-53 Echo.                                    11:47:58
 ·2· · · ·Q· · Okay.· So you got it from the -- from the                  11:48:01
 ·3· ·HMH-361 shop or from --                                             11:48:05
 ·4· · · ·A· · I don't recall.                                            11:48:11
 ·5· · · ·Q· · Okay.· You got it from one of the shops                    11:48:11
 ·6· ·anyway?                                                             11:48:19
 ·7· · · ·A· · Our publications would be the same.· So I                  11:48:19
 ·8· ·estimate that I would have gotten it from my own                    11:48:21
 ·9· ·squadron because I knew everybody there, and I                      11:48:25
 10· ·didn't know anybody in 361, but that's speculation.                 11:48:28
 11· · · ·Q· · Okay.· Did you question various witnesses                  11:48:43
 12· ·as to their knowledge of the purpose of the landing                 11:48:45
 13· ·gear safety pin?                                                    11:48:47
 14· · · ·A· · Yes, sir.                                                  11:48:49
 15· · · ·Q· · And did everybody know what the purpose of                 11:48:50
 16· ·the landing gear safety pin was?                                    11:48:53
 17· · · ·A· · Yes, sir.                                                  11:48:54
 18· · · ·Q· · And the purpose is again?                                  11:48:55
 19· · · ·A· · As a mechanical stop from inadvertent                      11:48:57
 20· ·retraction or collapsing.                                           11:49:00
 21· · · ·Q· · Is that -- is that safety pin considered to                11:49:01
 22· ·be a so-called interlock?                                           11:49:07
 23· · · ·A· · I would not consider it an interlock, sir.                 11:49:09
 24· · · ·Q· · Do you know what an interlock is?                          11:49:12
 25· · · ·A· · In my world, I do, yes, sir.                               11:49:14


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                 IAN DANIEL STEVENS - 03/16/2016         Page 154

 ·1· · · ·Q· · And then in your recommendations, you -- in                02:16:21
 ·2· ·number 2, you recommended that verbiage should be                   02:16:32
 ·3· ·added to the -- to NATOPS -- to a portion of the                    02:16:34
 ·4· ·NATOPS manual describing the purpose of the landing                 02:16:39
 ·5· ·gear pins, including a warning in the pocket                        02:16:42
 ·6· ·checklist, etcetera.                                                02:16:44
 ·7· · · · · · Do you know if those things were done?                     02:16:45
 ·8· · · ·A· · I believe that they were, sir.                             02:16:50
 ·9· · · ·Q· · By the Navy?                                               02:16:51
 10· · · ·A· · Yes, sir.                                                  02:16:52
 11· · · ·Q· · And, similarly, in recommendation number 3,                02:16:52
 12· ·you recommend the description and explanation of the                02:17:02
 13· ·landing gear safety pin's function should be added                  02:17:04
 14· ·to all appropriate technical publications, include a                02:17:07
 15· ·warning regarding the danger of removing a pin that                 02:17:10
 16· ·is impeded.                                                         02:17:13
 17· · · · · · Has that been done also?                                   02:17:14
 18· · · ·A· · I do not know, sir.                                        02:17:15
 19· · · · · · MR. HUNT:· Okay.· I'm going to pass the                    02:17:27
 20· ·witness, give somebody else a chance --                             02:17:28
 21· · · · · · THE REPORTER:· Can we take a bathroom                      02:17:32
 22· ·break?                                                              02:17:34
 23· · · · · · MR. SHEPARDSON:· Yes.                                      02:17:34
 24· · · · · · THE VIDEOGRAPHER:· Going off the record,                   02:17:37
 25· ·the time, 2:17 p.m.                                                 02:17:38


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                 IAN DANIEL STEVENS - 03/16/2016         Page 226

 ·1· ·STATE OF CALIFORNIA· ·)

 ·2· · · · · · · · · · · · ·)· ss

 ·3· ·COUNTY OF SAN DIEGO· ·)

 ·4· · · · · ·I, LINDA NICKERSON, CSR #8746, in and for

 ·5· ·the State of California do hereby certify:

 ·6· · · · · ·That, prior to being examined, the witness

 ·7· ·named in the foregoing deposition was by me duly

 ·8· ·sworn to testify the truth, the whole truth, and

 ·9· ·nothing but the truth;

 10· · · · · ·That said deposition was taken down by me in

 11· ·shorthand at the time and place therein named, and

 12· ·thereafter reduced to typewritten form at my

 13· ·direction, and the same is a true, correct, and

 14· ·complete transcript of the testimony at said

 15· ·proceedings.

 16· · · · · ·Before completion of the deposition, review

 17· ·of transcript [X] was [ ] was not requested.· If

 18· ·requested, any changes made by the deponent (and

 19· ·provided to the reporter) during the period allowed

 20· ·are appended hereto.

 21· · · · · ·I further certify that I am not interested

 22· ·in the event of the action.

 23· ·WITNESS MY HAND this 29th day of March, 2016.

 24
 · · · · · · · · · _____________________________
 25· · · · · · · · LINDA NICKERSON, CSR No. 8746


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1-800-826-0277                                 www.deposition.com
                REBECCA FITZSIMMONS - 02/18/2016                ·

 ·1· · · · · · · ·UNITED STATES DISTRICT COURT

 ·2· · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

 ·3

 ·4· · · · · · · · · ·AGENCY Case No. 13-cv-00331-GPC-KSC

 ·5· ·- - - - - - - - - - - - - - - - - - - x

 ·6· ·Dominic Fontalvo a minor, by and through

 ·7· ·his Guardian Ad Litem, Tashina Amador,

 ·8· ·individually and as successor in interest

 ·9· ·to Alexis Fontalvo, deceased, and T.L.

 10· ·a minor, by and through her Guardian

 11· ·Ad Litem, Tashina Amador,

 12
 · · · · · · · · · · · · · · Plaintiffs,
 13· ·vs

 14· ·Sikorsky Aircraft Corporation, Sikorsky

 15· ·Support Services, Inc., et al,

 16

 17· · · · · · · · · · · · · Defendants.

 18· ·- - - - - - - - - - - - - - - - - - - x

 19· · · · · · · · DEPOSITION OF REBECCA FITZSIMMONS

 20· · · · · · · · · · · ·Quantico, Virginia

 21· · · · · · · · · · · · February 18, 2016

 22· · · · · · · · · · · · · · 10:00 a.m.

 23

 24· · · · · · · · · · · · · · * * * * *

 25


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                 REBECCA FITZSIMMONS - 02/18/2016         Page 81

 ·1· ·Shelton, and then the third crew chief that I made
 ·2· ·note of was on the neighboring aircraft, Lance
 ·3· ·Corporal Joshua Perkins.
 ·4· · · · · · ·Corporal Shelton and Corporal Justin
 ·5· ·Walker were conducting the training with the
 ·6· ·mishap aircraft and Lance Corporal Joshua Perkins
 ·7· ·was on a neighboring aircraft, so those are the
 ·8· ·three crew chiefs that were involved in my
 ·9· ·investigation.
 10· · · · · · ·MR. SHEPARDSON:· Now I understand.
 11· · · · Thank you.
 12· ·BY MR. SHEPARDSON:
 13· · · · Q· · Did you personally make any
 14· ·recommendations with regard to --
 15· · · · · · ·MR. SHEPARDSON:· Actually, hold on.
 16· · · · Strike that.· I will get back to that.
 17· ·BY MR. SHEPARDSON:
 18· · · · Q· · In your notes you said that there was a
 19· ·finding that no operations, maintenance or
 20· ·training publications, provided a warning of the
 21· ·hazard of retracting landing gear on the ground,
 22· ·correct?
 23· · · · A· · Correct, yes.
 24· · · · Q· · Did anything in your investigation
 25· ·suggest that there actually was any such warning


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                REBECCA FITZSIMMONS - 02/18/2016          Page 82

 ·1· ·in any of the operations maintenance or training
 ·2· ·publications?
 ·3· · · · A· · Can you repeat that question?
 ·4· · · · Q· · My question is:· Did your investigation
 ·5· ·give rise to any suggestion that that finding was
 ·6· ·inaccurate?
 ·7· · · · A· · No.
 ·8· · · · Q· · Did you personally make any
 ·9· ·recommendations to any entity to close that
 10· ·knowledge gap as you described it earlier?
 11· · · · A· · No, that is outside the scope of my
 12· ·duty.
 13· · · · Q· · Do you know whether the Death Review
 14· ·Panel made any recommendations of that nature?
 15· · · · A· · No, that is outside of their scope duty
 16· ·as well, especially this.
 17· · · · · · ·MR. SHEPARDSON:· Thank you.· I would
 18· · · · like to briefly go over with you the thing
 19· · · · that is designated as Exhibit 19 in your --
 20· · · · · · ·Well, let me ask you this.
 21· ·BY MR. SHEPARDSON:
 22· · · · Q· · The way this report is arranged is in
 23· ·reverse chronological order by entry, is that
 24· ·right?
 25· · · · A· · Yes, so the oldest document would go on


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                REBECCA FITZSIMMONS - 02/18/2016         Page 123

 ·1

 ·2

 ·3· ·UNITED STATES OF AMERICA· )

 ·4· · · · · · · · · · · · · · · · ss:
 · · ·COMMONWEALTH OF VIRGINIA· )
 ·5

 ·6
 · ·   · · · · · · I, T. S. HUBBARD, JR., a Notary Public
 ·7
 · ·   ·within and for the District of Columbia do hereby
 ·8
 · ·   ·certify that the witness whose deposition is
 ·9
 · ·   ·hereinbefore set forth was duly sworn and that the
 10
 · ·   ·within transcript is a true record of the testimony
 11
 · ·   ·given by such witness.
 12

 13
 · ·   · · · · · ·I further certify that I am not related
 14
 · ·   ·to any of the parties to this action by blood or
 15
 · ·   ·marriage and that I am in no way interested in the
 16
 · ·   ·outcome of this matter.
 17

 18
 · · · · · · · ·IN WITNESS WHEREOF, I have hereunto set
 19
 · · ·my hand this 29TH day of February 2016.
 20

 21· ·____________________________

 22· ·Thomas S. Hubbard, Jr.
 · · ·Notary Public Commonwealth of Virginia
 23

 24

 25


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                 EVAN REID SHELTON - 05/25/2016                 ·

 ·1· · · · · · · · ·UNITED STATES DISTRICT COURT

 ·2· · · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA

 ·3
 · ·   ·- - - - - - - - - - - - - - - - - -
 ·4·   · · · · · · · · · · · · · · · · · · ·)
 · ·   ·D.F., a minor, by and through his· ·)
 ·5·   ·Guardian Ad Litem, TASHINA AMADOR,· )
 · ·   ·individually and as successor in· · )
 ·6·   ·interest to Alexis Fontalvo,· · · · )
 · ·   ·deceased, and T.L., a minor, by and )
 ·7·   ·through her Guardian Ad Litem,· · · )
 · ·   ·TASHINA AMADOR,· · · · · · · · · · ·)
 ·8·   · · · · · · · · · · · · · · · · · · ·)· CASE NO.
 · ·   · · · · · · · Plaintiffs,· · · · · · )· 13-cv-00331
 ·9·   · · · · · · · · · · · · · · · · · · ·)· GPC-KSC
 · ·   · · · · · · · ·vs.· · · · · · · · · ·)
 10·   · · · · · · · · · · · · · · · · · · ·)
 · ·   ·SIKORSKY AIRCRAFT CORPORATION;· · · )
 11·   ·SIKORSKY SUPPORT SERVICES, INC.;· · )
 · ·   ·UNITED TECHNOLOGIES CORPORATION;· · )
 12·   ·G.E. AVIATION SYSTEMS, LLC; DUPONT· )
 · ·   ·AEROSPACE CO.; E.I. DUPONT DE· · · ·)
 13·   ·NEMOURS AND COMPANY; PKL SERVICES,· )
 · ·   ·INC.; and DOES 1 through 100,· · · ·)
 14·   ·Inclusive,· · · · · · · · · · · · · )
 · ·   · · · · · · · · · · · · · · · · · · ·)
 15·   · · · · · · · Defendants.· · · · · · )
 · ·   · · · · · · · · · · · · · · · · · · ·)
 16·   ·- - - - - - - - - - - - - - - - - -

 17

 18· · · · · · · DEPOSITION OF EVAN REID SHELTON

 19

 20· · · · · · ·TAKEN ON: Wednesday, May 25, 2016

 21· · · · · · ·TAKEN AT: 501 West Broadway
 · · · · · · · · · · · · ·Suite 400
 22· · · · · · · · · · · ·San Diego, California

 23· · · · · · ·REPORTED BY:· KATHRYN B. CONNELL
 · · · · · · · · · · · · · · ·CSR NO. 3079, RPR, CRR
 24

 25


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                 EVAN REID SHELTON - 05/25/2016            Page 89

 ·1· · · · Q.· ·Okay.· So you would not pull the auxiliary
 ·2· ·tank pins before you pulled the landing gear pins?
 ·3· · · · A.· ·Yes.
 ·4· · · · Q.· ·You would only pull them first if you weren't
 ·5· ·pulling the landing gear pins?
 ·6· · · · A.· ·Yes.
 ·7· · · · Q.· ·Okay.· If you see, under the step for pins and
 ·8· ·chocks, there is a warning.· Do you know whether this
 ·9· ·warning existed at the time of the accident or if it was
 10· ·added afterwards?
 11· · · · A.· ·I do not recall.
 12· · · · Q.· ·Okay.· Could you read the warning out loud.
 13· · · · A.· ·"Do not use excessive force to remove any
 14· ·landing gear safety pin if the pin fails to move
 15· ·freely."
 16· · · · Q.· ·Can I stop you for a second?
 17· · · · A.· ·Yes.
 18· · · · Q.· ·Before this warning was added, did you know
 19· ·that you were not supposed to use excessive force to
 20· ·remove any landing gear safety pin if the pin failed to
 21· ·move freely?
 22· · · · A.· ·I knew that there was something wrong.· If it
 23· ·wouldn't move freely, I would know that there is
 24· ·something wrong; but I'm not sure what would be wrong.
 25· · · · Q.· ·Okay.


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                 EVAN REID SHELTON - 05/25/2016            Page 90

 ·1· · · · A.· ·So if I knew that there was something wrong,
 ·2· ·then yes, I would know that I shouldn't pull it.
 ·3· · · · Q.· ·Okay.· Can you read the next sentence.
 ·4· · · · A.· ·"Doing so may allow the landing gear to
 ·5· ·inadvertently retract on the ground, causing injury or
 ·6· ·death."
 ·7· · · · Q.· ·Did you know, prior to the accident, that
 ·8· ·forcibly removing a landing gear safety pin might cause
 ·9· ·inadvertent retraction?
 10· · · · A.· ·I did not.· I did not know that it could cause
 11· ·a retraction.
 12· · · · · · ·Well, yeah, removing it wouldn't cause it, but
 13· ·it would allow it to.· I did know that removing it would
 14· ·allow it to retract, but -- this is kind of confusing.
 15· ·Can you repeat the question one more time?
 16· · · · · · ·MS. VAGLE:· Sure.
 17· · · · · · ·Could you read it back, please.
 18· · · · · · ·(Record read as follows:
 19· · · · Q.· ·Did you know, prior to the accident, that
 20· ·forcibly removing a landing gear safety pin might cause
 21· ·inadvertent retraction?)
 22· · · · · · ·THE WITNESS:· I did know that if you moved the
 23· ·pin, now that -- now the landing gear can retract.
 24· ·Inadvertent.· I'm going to say yes.
 25· ·///


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                 EVAN REID SHELTON - 05/25/2016           Page 176

 ·1· ·STATE OF CALIFORNIA· )

 ·2· · · · · · · · · · · · :· SS.

 ·3· ·COUNTY OF SAN DIEGO· )

 ·4

 ·5· · · · · I, Kathryn B. Connell, Certified Shorthand

 ·6· ·Reporter No. 3079 for State of California, do hereby

 ·7· ·certify:

 ·8· · · · · That prior to being examined, the witness named

 ·9· ·in the foregoing deposition was duly sworn to testify to

 10· ·the truth, the whole truth, and nothing but the truth;

 11· · · · · That said deposition was taken down by me in

 12· ·shorthand at the time and place therein named and

 13· ·thereafter reduced by me to typewritten form and that

 14· ·the same is a true, correct, and complete transcript of

 15· ·said proceedings.

 16· · · · · Before completion of the deposition, a review of

 17· ·the transcript [ X ] was [· ] was not requested.· If

 18· ·requested, any changes made by the deponent (and

 19· ·provided to the reporter) during the period allowed are

 20· ·appended hereto.

 21· · · · · I further certify that I am not interested in the

 22· ·outcome of the action.

 23· · · · · Witness my hand this 6th day of June, 2016.

 24
 · · · · · · · · · · · · _________________________________
 25· · · · · · · · · · · · Kathryn B. Connell, CSR No. 3079


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               EXHIBIT I
     D.F., et al. v. Sikorsky Aircraft Corporation, et al.
United States District Court, Case No. 13-cv-00331-GPC-KSC
                   JOHN WAKEFIELD - 05/09/2017                  ·

 ·1· · · · · · · ·UNITED STATES DISTRICT COURT

 ·2· · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

 ·3

 ·4

 ·5·   ·DOMINIC FONTALVO, a minor,· )Case No.
 · ·   ·by and through his Guardian )3:13-cv-00331-GPC-KSC
 ·6·   ·Ad Litem,TASHINA AMADOR,· · )
 · ·   ·individually and as a· · · ·)
 ·7·   ·successor in interest to· · )
 · ·   ·Alexis Fontalvo, deceased,· )
 ·8·   ·and TANIKA LONG, a minor,· ·)
 · ·   ·by and through her Guardian )
 ·9·   ·Ad Litem, TASHINA AMADOR,· ·)
 · ·   · · · · · · · · · · · · · · ·)
 10·   · · · · · · Plaintiff,· · · ·)
 · ·   · · · · · · · · · · · · · · ·)
 11·   ·v.· · · · · · · · · · · · · )
 · ·   · · · · · · · · · · · · · · ·)
 12·   ·SIKORSKY AIRCRAFT· · · · · ·)
 · ·   ·CORPORATION; SIKORSKY· · · ·)
 13·   ·SUPPORT SERVICES, INC.;· · ·)
 · ·   ·UNITED TECHNOLOGIES· · · · ·)
 14·   ·CORPORATION, et al.,· · · · )
 · ·   · · · · · · · · · · · · · · ·)
 15·   · · · · · ·Defendants.· · · ·)VOLUME 2
 · ·   ·____________________________)Pages 102 - 284
 16

 17· ·DEPOSITION OF:

 18· · · · · · · · · ·JOHN WAKEFIELD

 19· · · · · · · · · ·TUESDAY, MAY 9, 2017

 20· · · · · · · · · ·10:19 A.M.

 21

 22

 23

 24· ·REPORTED BY:· · c. jane harman

 25· · · · · · · · · ·CSR No. 5266


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                   JOHN WAKEFIELD - 05/09/2017           Page 241

 ·1· ·was the maintenance of helicopters that you worked
 ·2· ·with always perfect?
 ·3· · · · A.· No.
 ·4· · · · · · MR. SHEPARDSON:· Okay.· We can take a
 ·5· ·break.
 ·6· · · · · · MR. HUNT:· Okay.
 ·7· · · · · · (Recess taken from 3:33 to 3:44.)
 ·8· ·BY MR. SHEPARDSON:
 ·9· · · · Q.· So, Mr. Wakefield, continuing to page 32 of
 10· ·your report.· This is the final conclusions which go
 11· ·on for --
 12· · · · A.· Forever.
 13· · · · Q.· -- five pages.
 14· · · · · · So I'm just going to hit the highlights
 15· ·here.
 16· · · · · · In opinion number one, you say that:
 17· · · · · · "NAVAIR personnel had full knowledge
 18· · · · · · and a complete understanding of the
 19· · · · · · design, including their landing gear
 20· · · · · · system."
 21· · · · · · So do you have any documentary evidence in
 22· ·these binders or that you otherwise relied on that
 23· ·Sikorsky ever told NAVAIR that there was a danger
 24· ·that the landing gear might inadvertently retract in
 25· ·the event of an electrical short?


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                   JOHN WAKEFIELD - 05/09/2017           Page 242

 ·1· · · · A.· I have no documentation for that.
 ·2· · · · Q.· So number three:
 ·3· · · · · · "NAVAIR provided or approved all
 ·4· · · · · · specifications for the manufacture
 ·5· · · · · · of the first YCH-53 Echo
 ·6· · · · · · developmental prototype."
 ·7· · · · · · Do you have any drawing or specification
 ·8· ·to the landing gear wiring harness of the CH-53 Echo
 ·9· ·bearing any approval by the U.S. government?
 10· · · · A.· No, I do not.
 11· · · · Q.· Okay.· Going on to number five.
 12· · · · · · "NAVAIR and Sikorsky conducted
 13· · · · · · numerous technical interchange
 14· · · · · · and review meetings during the
 15· · · · · · design, etcetera, of the CH-53
 16· · · · · · Echo."
 17· · · · · · Do you have any evidence either in these
 18· ·binders or that you otherwise relied on that the
 19· ·landing gear wiring harness was ever addressed at
 20· ·any technical interchange or review meeting?
 21· · · · A.· The Reference A, the final report and
 22· ·multiple other SER reports address the similarity of
 23· ·the CH-53E main landing gear system, which includes
 24· ·wiring harnesses and other hydraulic components and
 25· ·everything else associated with the landing gear


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                   JOHN WAKEFIELD - 05/09/2017           Page 286

 ·1
 · · ·STATE OF CALIFORNIA· ·)
 ·2· · · · · · · · · · · · ·)· ss
 · · ·COUNTY OF LOS ANGELES )
 ·3

 ·4· · · · · · · I, c. jane harman, CSR No. 5266, in and

 ·5· ·for the State of California do hereby certify:

 ·6· · · · · · · That, prior to being examined, the

 ·7· ·witness named in the foregoing deposition was by me

 ·8· ·duly sworn to testify the truth, the whole truth,

 ·9· ·and nothing but the truth;

 10· · · · · · · That said deposition was taken down by me

 11· ·in shorthand at the time and place therein named,

 12· ·and thereafter reduced to typewritten form

 13· ·direction, and the same is a true, correct and

 14· ·complete transcript of said proceedings.

 15· · · · · · · Before completion of the deposition,

 16· ·review of transcript [ ] was [ ] was not requested.

 17· · · · · · If requested, any changes made by the

 18· ·deponent (and provided to the reporter) during the

 19· ·period allowed are appended hereto.

 20· · · · · · · I further certify that I am not

 21· ·interested in the event of the action.

 22· · · · · · WITNESS MY HAND this 25TH day of MAY,

 23· ·2017.

 24· · · · · · · ________________________________

 25· · · · · · · · c. jane harman, CSR No. 5266


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              EXHIBIT J
     D.F., et al. v. Sikorsky Aircraft Corporation, et al.
United States District Court, Case No. 13-cv-00331-GPC-KSC
                  JEREMIAH WILCOX - 03/17/2016                  ·

 ·1· · · · · · · UNITED STATES DISTRICT COURT

 ·2· · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA

 ·3

 ·4

 ·5·   ·Dominic Fontalvo, a minor,· ·)
 · ·   ·by and through his Guardian· )
 ·6·   ·Ad Litem, Tashina Amador,· · ) Civil Action No.
 · ·   ·individually and as· · · · · )
 ·7·   ·successor in interest to· · ·) 13-cv-00331-GPC-KSC
 · ·   ·Alexis Fontalvo, deceased,· ·)
 ·8·   ·and T.L., a minor, by and· · )
 · ·   ·through her Guardian Ad· · · )
 ·9·   ·Litem, Tashina Amador,· · · ·)
 · ·   · · · · · · · · · · · · · · · )
 10·   · · · · · · · Plaintiffs,· · ·) Pages 1-59
 · ·   · · · · · · · · · · · · · · · )
 11·   · · · VS.· · · · · · · · · · ·)
 · ·   · · · · · · · · · · · · · · · )
 12·   ·Sikorsky Aircraft· · · · · · )
 · ·   ·Corporation, Sikorsky· · · · )
 13·   ·Support Services, Inc.,· · · )
 · ·   ·et al.,· · · · · · · · · · · )
 14·   · · · · · · · · · · · · · · · )
 · ·   · · · · · · · Defendants.· · ·)
 15·   ·____________________________ )

 16

 17· ·VIDEOTAPED DEPOSITION OF:

 18· · · · · ·JEREMIAH WILCOX

 19· · · · · ·THURSDAY, MARCH 17, 2016

 20· · · · · ·2:49 P.M.

 21

 22

 23

 24· ·Reported by:· LINDA NICKERSON

 25· · · · · · · · ·CSR No. 8746


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                  JEREMIAH WILCOX - 03/17/2016            Page 21

 ·1· · · ·Q· · Have you ever experienced a stuck -- or a                  03:05:29
 ·2· ·pin that was stuck or landing gear safety pin that                  03:05:33
 ·3· ·was stuck or offered resistance?                                    03:05:36
 ·4· · · ·A· · I have.                                                    03:05:37
 ·5· · · ·Q· · Can you tell us the circumstances?                         03:05:38
 ·6· · · ·A· · The circumstances on that was aircraft that                03:05:40
 ·7· ·were parked on the deck of a ship while deployed in                 03:05:44
 ·8· ·the Pacific Ocean.· Due to the salt water spray, the                03:05:47
 ·9· ·landing gear pins and any exposed metal that's not                  03:05:51
 10· ·painted can corrode and one of the aircraft or the                  03:05:55
 11· ·landing gear pins was starting to get some                          03:05:58
 12· ·resistance because it had corrosion built up, and                   03:06:00
 13· ·that's the only other time I've seen it, sir.                       03:06:05
 14· · · ·Q· · Okay.· That was the first -- the only time                 03:06:08
 15· ·you've seen that?                                                   03:06:09
 16· · · ·A· · Yes, sir.                                                  03:06:10
 17· · · ·Q· · How many times have you -- have you pulled                 03:06:10
 18· ·landing gear safe -- safety pins on CH-53                           03:06:12
 19· ·helicopters in your career?                                         03:06:16
 20· · · ·A· · Over a thousand times, sir, at least.                      03:06:18
 21· · · ·Q· · Okay.· When -- when did that happen, the                   03:06:24
 22· ·incident you just mentioned, the stuck or the                       03:06:26
 23· ·binding pin?                                                        03:06:28
 24· · · ·A· · I believe it was 2009, sir.                                03:06:29
 25· · · ·Q· · Did you discuss that with Sergeant Fontalvo                03:06:31


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                  JEREMIAH WILCOX - 03/17/2016            Page 59

 ·1· ·STATE OF CALIFORNIA· ·)

 ·2· · · · · · · · · · · · ·)· ss

 ·3· ·COUNTY OF ORANGE· · · )

 ·4· · · · · ·I, LINDA NICKERSON, CSR #8746, in and for

 ·5· ·the State of California do hereby certify:

 ·6· · · · · ·That, prior to being examined, the witness

 ·7· ·named in the foregoing deposition was by me duly

 ·8· ·sworn to testify the truth, the whole truth, and

 ·9· ·nothing but the truth;

 10· · · · · ·That said deposition was taken down by me in

 11· ·shorthand at the time and place therein named, and

 12· ·thereafter reduced to typewritten form at my

 13· ·direction, and the same is a true, correct, and

 14· ·complete transcript of the testimony at said

 15· ·proceedings.

 16· · · · · ·Before completion of the deposition, review

 17· ·of transcript [X] was [ ] was not requested.· If

 18· ·requested, any changes made by the deponent (and

 19· ·provided to the reporter) during the period allowed

 20· ·are appended hereto.

 21· · · · · ·I further certify that I am not interested

 22· ·in the event of the action.

 23· ·WITNESS MY HAND this 30th day of March, 2016.

 24
 · · · · · · · · · _____________________________
 25· · · · · · · · LINDA NICKERSON, CSR No. 8746


         DTI Court Reporting Solutions - Woodland Hills
1-800-826-0277                                 www.deposition.com
                 EVAN REID SHELTON - 05/25/2016                 ·

 ·1· · · · · · · · ·UNITED STATES DISTRICT COURT

 ·2· · · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA

 ·3
 · ·   ·- - - - - - - - - - - - - - - - - -
 ·4·   · · · · · · · · · · · · · · · · · · ·)
 · ·   ·D.F., a minor, by and through his· ·)
 ·5·   ·Guardian Ad Litem, TASHINA AMADOR,· )
 · ·   ·individually and as successor in· · )
 ·6·   ·interest to Alexis Fontalvo,· · · · )
 · ·   ·deceased, and T.L., a minor, by and )
 ·7·   ·through her Guardian Ad Litem,· · · )
 · ·   ·TASHINA AMADOR,· · · · · · · · · · ·)
 ·8·   · · · · · · · · · · · · · · · · · · ·)· CASE NO.
 · ·   · · · · · · · Plaintiffs,· · · · · · )· 13-cv-00331
 ·9·   · · · · · · · · · · · · · · · · · · ·)· GPC-KSC
 · ·   · · · · · · · ·vs.· · · · · · · · · ·)
 10·   · · · · · · · · · · · · · · · · · · ·)
 · ·   ·SIKORSKY AIRCRAFT CORPORATION;· · · )
 11·   ·SIKORSKY SUPPORT SERVICES, INC.;· · )
 · ·   ·UNITED TECHNOLOGIES CORPORATION;· · )
 12·   ·G.E. AVIATION SYSTEMS, LLC; DUPONT· )
 · ·   ·AEROSPACE CO.; E.I. DUPONT DE· · · ·)
 13·   ·NEMOURS AND COMPANY; PKL SERVICES,· )
 · ·   ·INC.; and DOES 1 through 100,· · · ·)
 14·   ·Inclusive,· · · · · · · · · · · · · )
 · ·   · · · · · · · · · · · · · · · · · · ·)
 15·   · · · · · · · Defendants.· · · · · · )
 · ·   · · · · · · · · · · · · · · · · · · ·)
 16·   ·- - - - - - - - - - - - - - - - - -

 17

 18· · · · · · · DEPOSITION OF EVAN REID SHELTON

 19

 20· · · · · · ·TAKEN ON: Wednesday, May 25, 2016

 21· · · · · · ·TAKEN AT: 501 West Broadway
 · · · · · · · · · · · · ·Suite 400
 22· · · · · · · · · · · ·San Diego, California

 23· · · · · · ·REPORTED BY:· KATHRYN B. CONNELL
 · · · · · · · · · · · · · · ·CSR NO. 3079, RPR, CRR
 24

 25


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                 EVAN REID SHELTON - 05/25/2016            Page 51

 ·1· ·pins and chocks, is that a gesture that's requesting
 ·2· ·assistance or is he just noting that this is the stage
 ·3· ·we are at in the process?
 ·4· · · · A.· ·If -- both.
 ·5· · · · Q.· ·Okay.
 ·6· · · · A.· ·If there is somebody there to witness it
 ·7· ·besides, you know -- because the pilots would be able to
 ·8· ·see you at all times.· If there is an aerial observer
 ·9· ·that's able to see you at the time, they will take it as
 10· ·a -- as a request to help pull pins.
 11· · · · · · ·MR. SHEPARDSON:· Can we take a quick break?
 12· · · · · · ·MS. VAGLE:· Yes.
 13· · · · · · ·(Brief recess.)
 14· ·BY MS. VAGLE:
 15· · · · Q.· ·So we were talking before our break a little
 16· ·bit about during the start-up procedures of the aircraft
 17· ·if you noticed that a landing gear safety pin was stuck
 18· ·or sort of resistant, you wouldn't know what to do but
 19· ·you would still be on ICS as the lead crew chief and
 20· ·would then -- or could then contact the pilots.
 21· · · · A.· ·Yes.
 22· · · · Q.· ·Okay.· So if you could walk me through a
 23· ·little bit of your knowledge and understanding of what
 24· ·might be a cause for a landing gear safety pin to be
 25· ·stuck or experience resistance at that stage.


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                 EVAN REID SHELTON - 05/25/2016            Page 52

 ·1· · · · A.· ·You're asking about during the daily or while
 ·2· ·the aircraft was on?
 ·3· · · · Q.· ·During start-up.
 ·4· · · · A.· ·During start-up.· What would make the pin --
 ·5· ·my -- when it happened to me that day, my thought was
 ·6· ·that the pin was bent.· That was my first thought,
 ·7· ·because I had never seen anything or had any issues
 ·8· ·especially with the aircraft on where I could not remove
 ·9· ·the pin.· So that was my -- that was my first -- first
 10· ·thought about why the pin wouldn't come out.
 11· · · · Q.· ·Prior to your experience on the day of the
 12· ·incident, had you ever experienced a bent pin in any
 13· ·circumstance whether start-up or otherwise?
 14· · · · A.· ·I don't think I've seen a bent pin, but I've
 15· ·had pins that because of the size of the pin or because
 16· ·of the spring mechanism, they wouldn't go in and out
 17· ·smoothly.· But that wasn't -- so that was a malfunction
 18· ·in the pin, but it wasn't bent, and I've seen that
 19· ·before.
 20· · · · Q.· ·Prior to the accident?
 21· · · · A.· ·Yes.
 22· · · · Q.· ·Okay.· And in what context had you seen that?
 23· · · · A.· ·In what context?
 24· · · · Q.· ·Start-up.· Daily.· Turnaround.
 25· · · · A.· ·Oh, not start-up, but it would have been -- I


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                   EVAN REID SHELTON - 05/25/2016          Page 53

 ·1· ·don't know what inspection, but it would have been an
 ·2· ·inspection where the aircraft wasn't on.
 ·3· · · · Q.· ·Okay.· And in those -- around how many times
 ·4· ·would you have experienced that before the incident?
 ·5· · · · A.· ·Maybe -- maybe two or three times I've seen a
 ·6· ·pin -- there was something wrong with the pin.
 ·7· · · · Q.· ·And what did you do in those circumstances?
 ·8· · · · A.· ·We had to order new pins.
 ·9· · · · Q.· ·Was that a pin that wouldn't come out or a pin
 10· ·that wouldn't go in?
 11· · · · A.· ·It was -- from what I can remember, it was
 12· ·difficult both ways, going in and out.
 13· · · · Q.· ·And when you say difficult going in and out,
 14· ·did it still go in and out?
 15· · · · A.· ·Yes.· Not easily though.
 16· · · · Q.· ·Did you exert force?
 17· · · · A.· ·Yes.
 18· · · · Q.· ·How much force would you have exerted to
 19· ·remove it?
 20· · · · A.· ·I don't know how to answer that.
 21· · · · Q.· ·Did you do it by hand or did you --
 22· · · · A.· ·Yes.
 23· · · · Q.· ·-- use a tool?
 24· · · · · · ·And you said you did it by hand?
 25· · · · A.· ·Yes, I did it by hand.


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                 EVAN REID SHELTON - 05/25/2016           Page 54

 ·1· · · · Q.· ·And how long did it take to remove it?
 ·2· · · · A.· ·Probably not much longer than it normally
 ·3· ·would have.· I just used more effort or, you know, it
 ·4· ·took more effort.· That's all.
 ·5· · · · Q.· ·Okay.· So again roughly one to two seconds but
 ·6· ·more manual effort using your hand?
 ·7· · · · A.· ·Yes.
 ·8· · · · Q.· ·Okay.· And what did you do at that time?· You
 ·9· ·said you ordered new pins.· Did you have to submit with
 10· ·a maintenance action form?
 11· · · · A.· ·Yes.
 12· · · · Q.· ·And how do you go about that process?
 13· · · · A.· ·So the inspection on the aircraft -- whatever
 14· ·inspection I was doing at the time, it would be
 15· ·completed.· Anything I noticed wrong, I would write down
 16· ·on a note pad.· And then, you know, when I was done with
 17· ·the inspection, I'd bring all these -- all these
 18· ·problems back, you know, to my shop and I would enter
 19· ·them on to a computer, on to a system where we could --
 20· ·we could annotate all of these problems.· And then -- I
 21· ·can't remember, like -- we would somehow -- I can't
 22· ·remember exactly how we got the ordering information for
 23· ·the parts and stuff like that.· But that was basically
 24· ·it.
 25· · · · Q.· ·Okay.· So you notified someone and it went


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                 EVAN REID SHELTON - 05/25/2016           Page 176

 ·1· ·STATE OF CALIFORNIA· )

 ·2· · · · · · · · · · · · :· SS.

 ·3· ·COUNTY OF SAN DIEGO· )

 ·4

 ·5· · · · · I, Kathryn B. Connell, Certified Shorthand

 ·6· ·Reporter No. 3079 for State of California, do hereby

 ·7· ·certify:

 ·8· · · · · That prior to being examined, the witness named

 ·9· ·in the foregoing deposition was duly sworn to testify to

 10· ·the truth, the whole truth, and nothing but the truth;

 11· · · · · That said deposition was taken down by me in

 12· ·shorthand at the time and place therein named and

 13· ·thereafter reduced by me to typewritten form and that

 14· ·the same is a true, correct, and complete transcript of

 15· ·said proceedings.

 16· · · · · Before completion of the deposition, a review of

 17· ·the transcript [ X ] was [· ] was not requested.· If

 18· ·requested, any changes made by the deponent (and

 19· ·provided to the reporter) during the period allowed are

 20· ·appended hereto.

 21· · · · · I further certify that I am not interested in the

 22· ·outcome of the action.

 23· · · · · Witness my hand this 6th day of June, 2016.

 24
 · · · · · · · · · · · · _________________________________
 25· · · · · · · · · · · · Kathryn B. Connell, CSR No. 3079


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               CHARLES WILLIAM COFFIN - 02/11/2016              ·




 · · · · · · · · ·UNITED STATES DISTRICT COURT

 · · · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA


 D.F., a minor, by and through :
 his Guardian Ad Litem,
 TASHINA AMADOR, individually· ·:
 and as successor in interest
 to Alexis Fontalvo, deceased, :
 and T.L., a minor, by and· · · · ·Case No.
 through her Guardian Ad· · · · :· 13-cv-00331-GPC-KSC
 Litem, TASHINA AMADOR,
 · · · · · · · · · · · · · · · ·:
 · · · · · · · ·Plaintiffs,
 · · · · · · · · · · · · · · · ·:· Deposition of:
 · · · ·-v-· · · · · · · · · · · · CHARLES WILLIAM COFFIN
 · · · · · · · · · · · · · · · ·:
 SIKORSKY AIRCRAFT
 CORPORATION; SIKORSKY SUPPORT :
 SERVICES, INC.; UNITED
 TECHNOLOGIES CORPORATION;· · · :
 G.E. AVIATION SYSTEMS, LLC;
 DUPONT AEROSPACE CO.; E.I.· · ·:
 DUPONT DE NEMOURS AND
 COMPANY; PKL SERVICES INC.;· · :
 and DOES 1 through 100,
 Inclusive,· · · · · · · · · · ·:

 · · · · · · · ·Defendants.· · ·:



 · · · · · · · · · Place:· · · · TEMPEST REPORTING, INC.
 · · · · · · · · · · · · · · · · 175 South Main Street, #710
 · · · · · · · · · · · · · · · · Salt Lake City, Utah 84111

 · · · · · · · · · Date:· · · · ·February 11, 2016
 · · · · · · · · · · · · · · · · 10:02 a.m.

 · · · · · · · · · Reporter:· · ·Vickie Larsen, CSR/RMR


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               CHARLES WILLIAM COFFIN - 02/11/2016        Page 65

 ·1· · · · ·A.· · ·Or little resistance, I guess.· Grease
 ·2· ·and other things that will, you know, that -- it won't
 ·3· ·feel tough, though, if that's what you're asking.
 ·4· · · · ·Q.· · ·It will feel smooth?
 ·5· · · · ·A.· · ·Right.· Right.· The only -- that's based
 ·6· ·on my knowledge of the aux tank pins.· They say they
 ·7· ·work exactly the same, and I removed aux tank pins so
 ·8· ·many times I couldn't count them, as part of our
 ·9· ·shop's involvement on replacing the aux tanks or
 10· ·inspecting the aux tanks.
 11· · · · ·Q.· · ·So for the landing gear safety pins, you
 12· ·just removed them in the context of those
 13· ·deteriorating flags?
 14· · · · ·A.· · ·Right.· Knowledge based on how smooth
 15· ·they should be is being, you know, told that they
 16· ·should be smooth like the aux tank pins.
 17· · · · ·Q.· · ·So they should feel the same?
 18· · · · ·A.· · ·Right.
 19· · · · ·Q.· · ·Okay.· And you have a lot of experience
 20· ·removing the aux tank pins?
 21· · · · ·A.· · ·Right.
 22· · · · ·Q.· · ·Did you ever find one of those pins stuck
 23· ·or with resistance?
 24· · · · ·A.· · ·Oh, sure.· If you install it, you know,
 25· ·something wrong, it will go in rough.· That's part of


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               CHARLES WILLIAM COFFIN - 02/11/2016        Page 66

 ·1· ·our -- my inspection when I'm replacing an aux tank
 ·2· ·is -- is verifying that that pin comes in and out
 ·3· ·smoothly.
 ·4· · · · ·Q.· · ·Okay.
 ·5· · · · ·A.· · ·If it doesn't, you pull it down and find
 ·6· ·out what, you know, did you do wrong?· Because if you
 ·7· ·follow the steps, you know, it's right, but sometimes
 ·8· ·maybe you turn just a little bit too tight and, you
 ·9· ·know, you got to redo everything and --
 10· · · · ·Q.· · ·Okay.
 11· · · · ·A.· · ·-- make sure it's nice and smooth.
 12· ·Verify that the pin's straight.· You know, a bent pin,
 13· ·if you pull it out and you put it, you know, where it
 14· ·goes while you're doing maintenance up there, but
 15· ·something happens and a wrench falls on it, a bent pin
 16· ·can cause resistance.
 17· · · · ·Q.· · ·Okay.
 18· · · · ·A.· · ·So, you know, it's not just something not
 19· ·functioning on the aircraft.· For the aux tanks,
 20· ·anyway, because it's a big pin.
 21· · · · ·Q.· · ·Did you find a bent pin in the course of
 22· ·your experience?
 23· · · · ·A.· · ·I mean, I bent a pin, I'm sure, or
 24· ·somebody had.· I definitely felt and looked at it and
 25· ·gone, that's a bent pin, and had to put in an order to


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               CHARLES WILLIAM COFFIN - 02/11/2016        Page 67

 ·1· ·replace it.
 ·2· · · · ·Q.· · ·Okay.
 ·3· · · · ·A.· · ·Just for axillary tanks.· Landing gear
 ·4· ·pins, again, that wouldn't be my -- my shop.
 ·5· · · · ·Q.· · ·Okay.· And you said that's part of the
 ·6· ·inspection, that making sure the pins enter and exit
 ·7· ·smoothly?
 ·8· · · · ·A.· · ·Right.
 ·9· · · · ·Q.· · ·Okay.· And if it doesn't, if there's
 10· ·resistance, you troubleshoot it and write up a work
 11· ·order if there's anything defective?
 12· · · · ·A.· · ·Well, it depends on what you find,
 13· ·because you're already on a maintenance action for
 14· ·that, you know, that component.
 15· · · · · · · · So you're really -- the inspection is,
 16· ·like, the post-maintenance -- after the end of every
 17· ·maintenance action there's a -- or a maintenance
 18· ·procedure, there's usually a type of inspection to
 19· ·verify your work.
 20· · · · ·Q.· · ·Okay.
 21· · · · ·A.· · ·For that particular one, you know, one of
 22· ·them is pulling the pin in and out.· If it's not
 23· ·smooth, the maintenance action is not complete.
 24· · · · ·Q.· · ·Okay.· So it's not like you need to go
 25· ·and start a new maintenance action.· You're still in a


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               CHARLES WILLIAM COFFIN - 02/11/2016       Page 198

 ·1· ·STATE OF UTAH· · · · ·)
 · · · · · · · · · · · · · ·)
 ·2· ·COUNTY OF SALT LAKE· ·)

 ·3· · · · · · · · I, Vickie Larsen, Certified Shorthand

 ·4· ·Reporter No. 109887-7801 for the State of Utah, do

 ·5· ·hereby certify:

 ·6· · · · · · · · That prior to being examined, the witness

 ·7· ·named in the foregoing deposition was duly sworn to

 ·8· ·testify to the truth, the whole truth, and nothing but

 ·9· ·the truth;

 10· · · · · · · · That said deposition was taken down by me

 11· ·in shorthand at the time and place herein named and

 12· ·thereafter reduced by me to typewritten form and that

 13· ·the same is a true, correct, and complete transcript of

 14· ·said proceedings.

 15· · · · · · · · Before completion of the deposition,

 16· ·review of the transcript [X] was [ ] was not requested.

 17· ·If requested, and changes made by the deponent (and

 18· ·provided to the reporter) during the period allowed are

 19· ·appended hereto.

 20· · · · · · · · I further certify that I am not interested

 21· ·in the outcome of the action.

 22

 23· · · · · · · · · · · · ·Vickie Larsen, CSR/RMR

 24· ·Witness my hand this 26th day of February, 2016.

 25


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              EXHIBIT K
     D.F., et al. v. Sikorsky Aircraft Corporation, et al.
United States District Court, Case No. 13-cv-00331-GPC-KSC
1                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF CALIFORNIA
2
3    D.F., a minor, by and through  )
     his Guardian Ad Litem, TASHINA )
4    AMADOR, individually and as    )
     successor in interest to       )
5    Alexis Fontalvo, deceased, and )
     T.L., a minor, by and through  )
6    her Guardian Ad Litem, TASHINA )          No. 3:13-cv-00331-
     AMADOR,                        )                  GPC-KSC
7                                   )
                 Plaintiffs,        )
8                                   )
           vs.                      )
9                                   )
     SIKORSKY AIRCRAFT CORPORATION; )
10   SIKORSKY SUPPORT SERVICES,     )
     INC.; UNITED TECHNOLOGIES      )
11   CORPORATION; G.E. AVIATION     )
     SYSTEMS, LLC; DUPONT AEROSPACE )
12   CO.; E.I. DUPONT DE NEMOURS    )
     AND COMPANY; IKL SERVICES INC.;)
13   and DOES 1 through 100,        )
     inclusive,                     )
14                                  )
                 Defendants.        )
15   _______________________________)
16
17
18      VIDEOTAPED DEPOSITION OF CHRISTOPHER A. DANLEY
19                   San Diego, California
20                Tuesday, November 22, 2016
21                         Volume I
22
23   Reported By:
     CATHERINE A-M GAUTEREAUX
24   CSR No. 3122
25   Job No. 2482433
     PAGES 1 - 68                                                   1

                                                          Page 1

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1         Q      Okay.   All right.     So from the time he              10:26:46

2    pulled the aux tank pin to the time of the collapse,

3    how much time would you say elapsed?

4         A      Probably as soon as the pin came out.

5         Q      No, no, no.   I'm sorry.      I think we're             10:26:53

6    confused.    Or maybe I'm confused.       From the time he

7    pulled the auxiliary tank pin out --

8         A      Oh, I see what you're saying.            Okay.

9         Q      -- the auxiliary tank pin to the time of

10   the collapse of the landing gear, how much time had                 10:27:05

11   elapsed?

12        A      That would be about 45 seconds, yes.

13        Q      Okay.   So from the time Sergeant Fontalvo,

14   with the aux tank pin in his hand, went underneath

15   the aircraft and was, you know, working to try to                   10:27:20

16   get the landing gear safety pin out, about how much

17   time passed between when he went under the aircraft

18   to when the landing gear actually retracted?

19        A      That would be the 45 seconds.

20        Q      Oh, 45 seconds.      Okay.   All right.          So     10:27:34

21   earlier, when you had mentioned 10 to 15 seconds,

22   were you just mistaken?

23        A      That was me thinking about him being on

24   his back.

25        Q      Okay.   All right.     Got it.     Okay.     So         10:27:43

                                                                       Page 37

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1    total 45 seconds initially, as you testified, got on             10:27:45

2    his knees, was working to try to get the safety pin

3    out, then got on his back and was continuing to work

4    on the safety pin?

5           A       Yes.                                              10:27:56

6           Q       Okay.   Got it.    Okay.     Understand.

7                   (Exhibit 5 was marked for identification

8           by the court reporter and is attached hereto.)

9                   MR. HICKEY:     So Exhibit 5 has a Bates

10   stamp of MIL073543.          It is another -- appears to be      10:28:23

11   another statement by, at that time, Lance Corporal

12   Christopher Danley.          It's dated 17 March 2011.

13   BY MR. HICKEY:

14          Q       So, Chris, I'm going to hand you what's

15   been marked as exhibit No. 5.             Have you ever seen     10:28:42

16   that document before?

17          A       I have, yes.

18          Q       Okay.   And when's the last time you saw

19   that document?

20          A       About ten minutes before we started this,         10:28:52

21   'cause he said -- or Mr. Stahl said that he saw this

22   one.       I had not reviewed it yet.

23          Q       Okay.   All right.     So prior to that, had

24   you ever seen that document before?

25          A       I don't believe so, no.                           10:29:04

                                                                    Page 38

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1                 I, the undersigned, a Certified Shorthand
2    Reporter of the State of California, do hereby
3    certify:
4                 That the foregoing proceedings were
5    reported by me at the time and place herein set
6    forth; that any witnesses in the foregoing
7    proceedings, prior to testifying, were placed under
8    oath; that a verbatim record of the proceedings was
9    made by me using machine shorthand which was
10   thereafter transcribed under my direction; further,
11   that the foregoing is an accurate transcription
12   thereof;
13                That a review of the transcript by the
14   deponent was requested;
15                I further certify I am neither financially
16   interested in the action nor a relative or employee
17   of any attorney of any of the parties.
18                IN WITNESS WHEREOF, I have this date
19   subscribed my name.
20   Dated:     December 9, 2016
21
22
23
24                             <%signature%>
25                             CATHERINE A-M GAUTEREAUX
                               CSR NO. 3122

                                                     Page 68

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              EXHIBIT L
     D.F., et al. v. Sikorsky Aircraft Corporation, et al.
United States District Court, Case No. 13-cv-00331-GPC-KSC
1                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF CALIFORNIA
2
3    D.F., a minor, by and through  )
     his Guardian Ad Litem, TASHINA )
4    AMADOR, individually and as    )
     successor in interest to       )
5    Alexis Fontalvo, deceased, and )
     T.L., a minor, by and through  )
6    her Guardian Ad Litem, TASHINA )             No. 3:13-cv-00331-
     AMADOR,                        )                     GPC-KSC
7                                   )
                 Plaintiffs,        )
8                                   )
           vs.                      )
9                                   )
     SIKORSKY AIRCRAFT CORPORATION; )
10   SIKORSKY SUPPORT SERVICES,     )
     INC.; UNITED TECHNOLOGIES      )
11   CORPORATION; G.E. AVIATION     )
     SYSTEMS, LLC; DUPONT AEROSPACE )
12   CO.; E.I. DUPONT DE NEMOURS    )
     AND COMPANY; IKL SERVICES INC.;)
13   and DOES 1 through 100,        )
     inclusive,                     )
14                                  )
                 Defendants.        )
15   _______________________________)
16
17
18          VIDEOTAPED DEPOSITION OF MICAH HAMILTON
19                   San Diego, California
20                Thursday, January 26, 2016
21                         Volume I
22
23   Reported By:
     CATHERINE A-M GAUTEREAUX
24   CSR No. 3122
     Job No. 2528199
25   PAGES 1 - 96

                                                            Page 1

                       Veritext Legal Solutions
                            866 299-5127
1    the gear.    I'd leave the pins in and still flight               09:23:35

2    the aircraft.

3                MR. MONTANARI:     What was the answer?

4                THE WITNESS:     I would leave the pin -- as

5    of today, obviously, 'cause of what happened, I                   09:23:41

6    would -- I would probably still flight the aircraft

7    but leave the pins in so you can't retract the gear.

8                MR. MONTANARI:     Thank you.

9    BY MR. HICKEY:

10        Q      And at the time of the accident -- if I               09:23:52

11   asked you at the time of the accident, what would

12   your answer have been?

13        A      Because that was never a problem for us, I

14   think we would have pulled the pin.           That would have

15   been normal operation, 'cause it was -- I've never                09:24:01

16   encountered that in my time as an airframe mechanic.

17        Q      I think you indicated earlier that, as you

18   sit here today, you don't know what the duties of an

19   aerial observer are during the preflighting of an

20   aircraft?                                                         09:24:42

21        A      I was -- I was an aerial observer, but

22   that was -- 'cause the last time I flew was 2005.

23   So I remember very little what to do for preflight.

24        Q      Okay.   Do you know what the duties of a

25   crew chief are?                                                   09:25:01

                                                                     Page 64

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1         A    Very little.                                        09:25:03

2         Q    Okay.    What do you know about that?

3         A    From what I remember, I mean, your basic

4    job as a crew chief is to basically control the

5    aircraft from the cockpit or behind the cockpit back          09:25:12

6    to the whole cargo area.     You're constantly looking

7    for -- it depends on which side window you're in,

8    right side, left side or tail.       You're constantly

9    looking for traffic in the air.        When you're

10   landing, you're looking for obstacles, and oversee            09:25:25

11   the overall safety of the aircraft.

12        Q    So between an aerial observer and a crew

13   chief, who's primarily responsible for the safety of

14   that helicopter?

15        A    The crew chief.                                     09:25:43

16        Q    So if a problem arises, should the crew

17   chief be notified of the problem?

18        A    Yes, sir.

19        Q    Okay.    So if you -- not speaking today,

20   but back before the Alex Fontalvo accident, if a              09:25:54

21   stuck landing gear safety pin was encountered,

22   should that have been communicated to the crew

23   chief?

24             MR. SHEPARDSON:     Objection.       Incomplete

25   hypothetical, calls for speculation.                          09:26:10

                                                                 Page 65

                              Veritext Legal Solutions
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1                THE WITNESS:    It depends on -- like I                09:26:12

2    said, because it was never an issue, if I was the --

3    if I was the AO at that time, I would have continued

4    to try to pull that pin out just because I thought

5    maybe it was rusted in there or it had grease on it                09:26:22

6    or something like that and it got stuck in there.

7    BY MR. HICKEY:

8         Q      Without communicating that to the crew

9    chief first?

10        A      Well, when I'm doing that as an AO, I was              09:26:31

11   off the cord, so I couldn't even talk -- I couldn't

12   even communicate to him verbally.

13        Q      When you say "off the cord," explain that.

14        A      So, we have the ICS system.          That's how we

15   all communicate between the crew chiefs and the                    09:26:44

16   pilots.    Usually, when -- you always have the crew

17   chief hooked up upfront.       That way, he can see the

18   aircraft and see the pilots.

19               As the AO, I'm running around pulling

20   chocks, pulling pins, checking panels as we're                     09:26:56

21   turning to make sure the aircraft is safe.            But I am

22   disconnected at that time, so I cannot speak to

23   anybody.

24        Q      Okay.   So you just mentioned that there

25   were a lot of problems with the CH-53E helicopter?                 09:27:27

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1    BY MR. MONTANARI:                                               09:56:54

2         Q       If you know.

3         A       He should, but I don't know.

4         Q       Where did you learn that?         What part of

5    training.     Was that Pensacola or was that                    09:56:59

6    Jacksonville or --

7         A       So probably the C School, where we learn

8    the basic operations of all the system, I'm sure it

9    was covered.     I cannot remember exactly, but at that

10   time it was probably covered then.                              09:57:09

11        Q       Given your training, if you had a landing

12   gear safety pin that -- there was a lot of

13   resistance in pulling out and that -- you've

14   testified that would be an abnormal situation to

15   you, and knowing that that's part of the interlock              09:57:29

16   system, would -- would you have done anything

17   different other than just trying to pull it out?

18        A       I would have kept pulling at that time.

19        Q       You would have just kept pulling?

20        A       Yes, sir.                                          09:57:42

21        Q       And is there any time in the process where

22   you would have stopped pulling?           I mean, if you --

23        A       Unfortunately, we have that mentality,

24   like keep doing it until it breaks.            Not till it

25   breaks.     I didn't mean to say that one.                      09:57:54

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1              I would have found a way to get pin out         09:57:56

2    'cause, to me, I would have thought that it was just

3    rusted in here.   So I would have kept pushing or

4    kept pulling on it till I could get it out.

5         Q    And after -- after the unfortunate              09:58:16

6    accident with Sergeant Fontalvo, there was a change

7    in the training, correct?

8         A    I have no idea, sir.

9         Q    Oh, that's right.     You were not --

10        A    I was already detached, yes.                    09:58:29

11        Q    That was not part of your duties at all to

12   be current with the training?

13        A    No, sir.

14        Q    And just to be clear, if you had a stuck

15   pin at least prior to a flight you would not have         09:58:50

16   notified the crew chief?

17        A    No, sir.   If I couldn't have gotten it

18   out, eventually I would have told him, but I would

19   have kept trying to get it out.      But eventually I

20   would have came (sic) up to the front and told him,       09:59:01

21   "I don't have the pins."

22        Q    You would have come up to the front and

23   told him you didn't have the pins out?

24        A    Yes, sir, 'cause we pull -- there is three

25   landing gear pins, two aux tank.      So my               09:59:08

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1    that.                                                               10:00:12

2            A       Yes.

3                    MR. MONTANARI:   All right.      I think that's

4    all I have.        Thank you.

5                                                                        10:00:15

6                               EXAMINATION

7    BY MR. SHEPARDSON:

8            Q       I apologize if I have given you the

9    impression I had nothing, but I didn't until he made

10   one comment that I found interesting.             It sounded        10:00:25

11   like maybe there was a saying that you started to

12   repeat, something about keep trying until it breaks.

13           A       So -- are you done?    I'm sorry.

14           Q       Yeah.

15           A       So as a Marine, we work on high-tempo               10:00:37

16   situations, whatever we do as a Marine.                When a

17   plane is turning, you're trying to pull all the

18   chocks, whether it's training, you're always moving

19   quickly.

20                   So if the pin was stuck, I would have just          10:00:55

21   kept trying and trying and trying to get that pin

22   out.        Eventually, I'm sure the crew chief probably

23   would have came (sic) around and thought, "What are

24   you" -- "what's taking so long?"           'Cause usually,

25   they slide right out easily.                                        10:01:06

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1            Q      Is that same -- "keep trying until it               10:01:07

2    breaks," is that a saying within the Corps?

3            A      No, sir.

4            Q      Oh, okay.

5            A      No.     I meant -- what I meant by that was,        10:01:13

6    we move quickly.          And as airframers, one of our --

7    you know, we always say -- you know, we're

8    rough-natured.          We use hammers, we use big wrenches.

9    So, you know, I did not mean to say it that way, I

10   guess, so --                                                       10:01:30

11           Q      Well, I guess what I'm asking is, does

12   it -- does it reflect the attitude of your station

13   within the Corps?

14                  MR. MONTANARI:     Objection.       Lacking

15   foundation, overbroad.                                             10:01:43

16                  THE WITNESS:     It just reflect what we do

17   as Marines.          It's don't stop until the job's done.

18   But when it comes to aviation, everything is written

19   down.       You do certain things the way you're taught,

20   don't do anything outside of that box, so --                       10:01:54

21                  MR. SHEPARDSON:     Understood.       Thank you

22   very much.

23                  THE WITNESS:     Yes, sir.

24                  MR. HICKEY:     I just have a couple of

25   followups.                                                         10:02:02

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1                 I, the undersigned, a Certified Shorthand
2    Reporter of the State of California, do hereby
3    certify:
4                 That the foregoing proceedings were
5    reported by me at the time and place herein set
6    forth; that any witnesses in the foregoing
7    proceedings, prior to testifying, were placed under
8    oath; that a verbatim record of the proceedings was
9    made by me using machine shorthand which was
10   thereafter transcribed under my direction; further,
11   that the foregoing is an accurate transcription
12   thereof.
13                That a review of the transcript by the
14   deponent was requested.
15                I further certify I am neither financially
16   interested in the action nor a relative or employee
17   of any attorney of any of the parties.
18                IN WITNESS WHEREOF, I have this date
19   subscribed my name.
20   Dated:     February 8, 2017.
21
22
23
24               <%signature%>
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25               CSR NO. 3122

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